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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION




    IN RE BITCONNECT SECURITIES LITIGATION              Lead Case No.: 9:18-cv-80086-DMM


                                                       CLASS ACTION

                                                       JURY TRIAL DEMANDED




     SECOND AMENDED CONSOLIDATED CLASS ACTION COMPLAINT


                                   Respectfully submitted,

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            Co-Lead Plaintiffs ALBERT PARKS, an individual (“PARKS”); and FARAMARZ

   SHEMIRANI, an individual (“SHEMIRANI”); and Plaintiffs Maryann Marryshow, an individual

   (“MARRYSHOW”); Mija Yoo, an individual (“YOO”); Nelson Arias, an individual (“ARIAS”);

   and Cory Struzan, an individual (“STRUZAN”) (“Plaintiffs”); individually and on behalf of all

   other persons similarly situated as defined herein, by and through undersigned counsel, allege in

   this Second Amended Consolidated Class Action Complaint for violations of the of Sections 12

   and 15 of the Securities Act of 1933 (the “Securities Act”) and Fla. Stat. §§ 501.211, et seq. (the

   “Florida Deceptive and Unfair Trade Practices Act” [FDUTPA]), breach/rescission of contract,

   unjust    enrichment,     fraudulent    inducement,      fraudulent     misrepresentation,     negligent

   misrepresentation, conversion, and civil conspiracy the following, based upon personal knowledge

   with respect to their own acts, and upon facts obtained through an investigation conducted by their

   counsel, which included, inter alia: (a) documents and solicitation materials released by

   Defendants (defined below), in connection with the BitConnect Investment Programs (defined

   below); (b) public statements made by Defendants concerning BITCONNECT (defined below)

   and the BitConnect Investment Programs; and (c) media publications concerning the BitConnect

   Investment Programs.

            Plaintiffs believe that further substantial evidentiary support will exist for the allegations

   set forth herein after a reasonable opportunity for discovery. Many of the facts supporting the

   allegations contained herein are known only to Defendants or are exclusively within their control.

                                      NATURE OF THE ACTION

            1.     This is a class action on behalf of a class of investors consisting of all individuals

   and entities who transferred to BITCONNECT any fiat currency or cryptocurrency to invest in




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   BCC and/or the BitConnect Investment Programs (Defined Below) and who suffered financial

   injury as a result thereof.

            2.      This action alleges violation of Sections 12(a)(1) and 15(a), 15 U.S.C. §§ 77l(a)(1),

   77o(a), of the Securities Act, Fla. Stat. §§ 501.211, et seq., breach/rescission of contract, 1 unjust

   enrichment, fraudulent inducement, fraudulent misrepresentation, negligent misrepresentation,

   conversion, and civil conspiracy against Bitcoin AMR Limited f/k/a BitConnect Public Limited, a

   foreign corporation; BitConnect International PLC, a foreign corporation; BitConnect Ltd., a

   foreign corporation; BitConnect Trading Ltd., a foreign corporation (the business entities

   collectively referred to herein as “BITCONNECT”); Nalin Kotadiya, an individual

   (“KOTADIYA”); Suresh Gorasiya, an individual (“GORASIYA”); Mahendra Chaudhari, an

   individual (“CHAUDHARI”); Gautam Lathiya, an individual (“LATHIYA”); Dhaval Mavani, an

   individual (“MAVANI”); Piyush Savaliya, an individual; (“SAVALIYA”); Ramdayal Purohit

   (“PUROHIT”); Ranjeet Saxena, an individual (“SAXENA”); Sandip Balvantrai Naik, an

   individual (“SANDIP”), Smit Sandiphbhai Naik, an individual (“SMIT”), and Raj Sandipobhai

   Naik, an individual (“RAJ” and together with SANDIP and SMIT, the “NAIKS” and collectively

   with KOTADIYA, GORASIYA, CHAUDHARI, LATHIYA, MAVANI, SAVALIYA,

   PUROHIT, SAXENA, SANDIP and SMIT, the “Developer Defendants”); Satish Kumbhani, an

   individual (“SATISH”); Yuris Praseteya, an individual (“PRASETEYA”); Nay Minh a/k/a Mr.

   Roberts, an individual (“ROBERTS”); Le Thi Thannh Huy a/k/a Ms. Helen, an individual

   (“HELEN”); Santoso Wardah a/k/a Mr. Santoso, an individual (“SANTOSO”); Divyesh Darji, an

   individual (“DARJI”); Jeson Talingting Bana-ay a/k/a Satao Nakamoto, an individual

   (“SATAO”); Joshua Jeppesen, an individual (“JEPPESEN”); Glenn Arcaro, an individual


   1   Plaintiffs’ breach/rescission of contract claim is only alleged against Defendant BITCONNECT.



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   (“ARCARO”); Jean-Simon Labreche, an individual (“LABRECHE”); Trevon Brown a/k/a Trevon

   James, an individual (“JAMES”); Ryan Hildreth, an individual (“HILDRETH”); Craig Grant, an

   individual (“GRANT”); Calen Powell a/k/a Crypto Clover, an individual (“CRYPTO CLOVER”);

   John Doe No. 1 a/k/a Nicholas Trovato a/k/a Cryptonick, an individual (“CRYPTONICK”); Ryan

   Maasen, an individual (“MAASEN”); Tanner Fox, an individual (“FOX” and together with

   SATISH, PRATESEYA, SANTOSO, ROBERTS, HELEN, DARJI, SATAO, JEPPESEN,

   ARCARO, LABRECHE, JAMES, HILDRETH, GRANT, CRYPTO CLOVER, CRYPTONICK,

   and MAASEN the “Promoter Defendants”); and Jane or John Doe Nos. 2–10, individuals (“DOES

   2–10” and collectively with BITCONNECT, the Promoter Defendants, and the Developer

   Defendants, the “BITCONNECT Defendants”).

          3.      Specifically, Defendant BITCONNECT created and operated fraudulent

   Ponzi/pyramid schemes in the form of the BitConnect Lending Program and the BitConnect

   Staking Program (the “BitConnect Investment Programs”). To participate in the BitConnect

   Investment Programs, investors were required to purchase BITCONNECT-created cryptocurrency

   called BitConnect Coins (“BCC”) on the BITCONNECT BCC Exchange with bitcoin (“BTC”) 2

   or fiat currency.

          4.      The BitConnect Lending Program was marketed and sold on the Internet as an

   opportunity for investors to “lend” their BCCs back to BITCONNECT, which BITCONNECT



   2 Bitcoin is a type of “virtual currency” – also commonly referred to as “digital currency” or
   “cryptocurrency.” The Financial Action Task Force, an inter-governmental agency that promotes
   laws combating anti-money laundering, and in which the United States is a member, describes
   “virtual currency” as a “digital representation of value that can be digitally traded and functions as
   (1) a medium of exchange; and/or (2) a unit of account; and/or (3) a store of value, but does not
   have legal tender status . . . in any jurisdiction.” Importantly, virtual currencies do not have legal
   tender status like fiat currencies (e.g., U.S. dollar and the Euro). The most widely used virtual
   currencies are BTC and ethereum (“ETH”).



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   would then purportedly use to generate profits by purchasing BTC when its price was low and

   selling BTC when its price was high — a “buy low, sell high” strategy that was purportedly

   effectuated by a BITCONNECT-designed “trading bot” implementing a proprietary trading

   algorithm: the “Volatility Software.”    In exchange for “lending” BCCs to BITCONNECT,

   investors were “guaranteed” lucrative returns on their investments.

          5.      The BitConnect Staking Program was marketed and sold on the Internet as an

   opportunity for investors to “stake” their BCCs by holding their BCCs in the BITCONNECT-QT

   wallet (a software and/or online wallet created by BITCONNECT). In exchange for “staking”

   BCCs in the BITCONNECT-QT Wallet, investors were “guaranteed” lucrative returns on their

   investments.

          6.      As part of their solicitation efforts, BITCONNECT enlisted multi-level affiliate

   marketers (the “Referral Program” or the “Affiliate Program”) to further propagate the reach of

   the BitConnect Investment Programs.        Under the Referral Program, BITCONNECT paid

   commissions to affiliates who successfully solicited additional investments in the BitConnect

   Investment Programs. The affiliate promoters would receive a percentage of any investments

   made by the investors they referred as well as a portion of investments made by subsequent

   investors recruited by their referrals, and so forth—a standard multi-level-marketing (“MLM”)

   scheme. Additionally, each of the Promoter Defendants received compensation directly from

   BITCONNECT. The individual Promoter Defendants were highly influential affiliate marketers

   and/or directors of BITCONNECT.

          7.      Several of the Promoter Defendants had partnerships with YouTube pursuant to

   which the BITCONNECT Defendants disseminated fraudulent and harmful content to

   unsuspecting victims across the globe.




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          8.      Despite being cloaked in technological sophistication and jargon, the

   BITCONNECT Defendants operated a century-old fraud that was simple at its core — victims

   would invest in the BitConnect Investment Programs after they were driven to BITCONNECT as

   a result of profitable partnerships the Promoter Defendants had with YouTube; and

   BITCONNECT would then pay existing investors with new money from new investors, who were

   in turn expected and incentivized to get more new investors to produce more new money for

   BITCONNECT.

          9.      As noted above, to participate in the BitConnect Investment Programs, investors

   were required to purchase BCCs. BCCs constitute “investment contract” securities as defined

   under the Securities Act. As discussed herein, BCCs are investment contracts because, inter alia,

   the BITCONNECT Defendants explicitly referred to BCCs as an “investment option” under which

   investors could “buy BitConnect Coin at a lower price and sell[] them at [a] higher price,” and

   Plaintiffs and other BITCONNECT investors were led to believe, and expected, that the BCCs

   they purchased would be worth more than the BTC or fiat currency they invested with

   BITCONNECT.

          10.     Similarly, the BitConnect Investment Programs constitute “investment contract”

   securities as defined under the Securities Act. As discussed herein, the BitConnect Investment

   Programs qualify as investment contracts because, inter alia, the BITCONNECT Defendants have

   explicitly referred to the programs as lucrative investment opportunities that would lead to

   “financial freedom” and repeatedly stressed the profit potential from merely holding and “staking”

   BCCs. The BitConnect Investment Programs were the clear offer and sale of investment contract

   securities because, inter alia, the BITCONNECT Defendants touted, and Plaintiffs and other




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    BitConnect Investment Program participants reasonably expected, that investors would receive

    substantial returns and a steady stream of income on their investments.

           11.     With respect to the BitConnect Lending Program, a stream of income would

    purportedly come in the form of a daily interest rate and a bonus interest percentage, each of which

    were tied to BITCONNECT’s creation and implementation of the Volatility Software, which

    BITCONNECT claimed would produce returns sufficient to cover these payments. In addition to

    the fixed returns that were promised, BITCONNECT also guaranteed that the principal investment

    amount would be paid in full on a specified date.

           12.     Similarly, with respect to the BitConnect Staking Program, BITCONNECT

    “guaranteed” it would provide returns of “up to 10% per month” which would result from merely

    holding BCCs in the BitConnect-QT Wallet.

           13.     In reality, BitConnect Investment Programs were nothing more than pyramid/Ponzi

    schemes. After operating for less than a year, BITCONNECT abruptly shut down its platform and

    stripped the value from all of Plaintiffs’ and the Class’ (defined below) investments, leaving them

    with nearly worthless BCCs. 3

           14.     In short, the BITCONNECT Defendants defrauded tens of thousands of investors

    by capitalizing on the general public’s excitement for virtual currencies and by luring unsuspecting

    investors into purchasing unregistered securities and participating in pyramid/Ponzi schemes.

           15.     The registration requirements contained within the Securities Act are designed to

    protect investors by ensuring they are provided adequate information upon which to base their

    investment decisions. The two basic objectives of registration are: (i) to require that investors


    3 For example, the value of BCC fell from over $430.00 in early-January 2018 to $0.40 in early-
    July 2018. Currently, BCCs are not listed for trading on any major cryptocurrency trading
    exchange.



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    receive necessary financial and other significant information concerning securities being offered

    for public sale; and (ii) to prohibit deceit, misrepresentations, and other fraud in the sale of

    securities. Absent registration and the protections of the federal securities laws, issuers of

    securities could seek to market their investment opportunities without disclosing information that

    might make a potential investor think twice before investing (e.g., conflicts of interest or major

    setbacks to core product lines) or peddle their securities using unbounded exaggerations regarding

    the progress of their products, business plan, business strategies, or even fabricate the existence of

    relationships with vendors or other business partners.

             16.   Accordingly, Plaintiffs bring this action for violations of Sections 12 and 15 of the

    Securities Act, Florida’s Deceptive and Unfair Trade Practices Act, breach/rescission of contract,

    unjust    enrichment,    fraudulent    inducement,     fraudulent     misrepresentation,     negligent

    misrepresentation, conversion, and civil conspiracy against the BITCONNECT Defendants for

    their offer and sale of investment contract securities in violation of the federal securities laws’

    registration requirements and participation in effectuating the fraudulent Ponzi/pyramid schemes.

             17.   The BITCONNECT Defendants’ promotional materials appeared in press releases,

    BITCONNECT’s website, online chat rooms or forums located on websites such as Reddit.com

    (“Reddit”), white papers, postings on social media websites such as Twitter and Facebook,

    promotional videos posted on YouTube, and/or other materials relating to BITCONNECT and the

    BitConnect Investment Programs, which were disseminated widely to the investing public.

             18.   Due to the varied and innumerable ways in which investors can be, and are likely

    to be, manipulated and harmed absent any of the protections under the federal securities laws,

    Sections 5 and 12(a)(1) of the Securities Act provide for strict liability against any person who

    offers or sells an unregistered security. As detailed herein, the BitConnect Investment Programs




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    have at all times constituted an offer and sale of unregistered securities; and thus, the

    BITCONNECT Defendants are strictly liable under Section 12(a)(1) of the Securities Act.

    Similarly, the BITCONNECT Defendants’ unlawful, immoral, and fraudulent conduct has caused,

    and is continuing to cause, significant financial harm to Plaintiffs and the Class (defined below).

    Absent judicial intervention, Plaintiffs and the Class are unlikely to ever recover their investments.

    Accordingly, judicial intervention is required and requested to rectify the existing and future harm

    facing Plaintiffs and the Class — harm that is likely to be irreparable.

            19.     Investors in the BitConnect Investment Programs have little to show for their

    investments other than broken promises and mounting financial burdens.

            20.     For these reasons, Plaintiffs on behalf of themselves, and all similarly situated

    individuals and entities that invested in BCC and/or the BitConnect Investment Programs, seeks

    compensatory, exemplary, punitive, injunctive, and rescissory relief, providing rescission and

    repayment of all investments into BCCs and/or the BitConnect Investment Programs, and securing

    and conserving such funds until repayment

                                      JURISDICTION AND VENUE

            21.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question

    jurisdiction) and Section 22 of the Securities Act [15 U.S.C. § 77v] because Plaintiffs allege

    violations of Sections 12(a)(1) and 15(a) of the Securities Act [15 U.S.C. §§ 77l(a)(1) and 77o(a)].

            22.     The Court has personal jurisdiction over each of the Defendants because each either

    conducts business in and maintains operations in this District or is an individual who either is

    present in this District for jurisdictional purposes or has sufficient minimum contacts with this

    District as to render the exercise of jurisdiction by this Court permissible under traditional notions

    of fair play and substantial justice.




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           23.     The Court also has personal jurisdiction over each of the Defendants under Fla.

    Stat. § 48.193 because each operated, conducted, engaged or carried on a business or business

    venture within this state, committed a tortious act within this state, or caused injuries to persons or

    property within this state arising out of acts or omissions outside of this state because, at the time

    of the injury, each Defendant was engaged in solicitation or service activities within this state.

           24.     Venue is proper in this District under Section 22 of the Securities Act, 15 U.S.C.

    § 77v, as well as under 28 U.S.C. § 1391, because: (a) the conduct at issue took place and had an

    effect in this District; (b) a substantial portion of the transactions and wrongs complained of herein

    occurred here; and (c) Defendants have received substantial compensation and other transfers of

    money here by doing business here and engaging in activities having an effect in this District.

                             PARTIES AND RELEVANT NON-PARTIES

    I.     Plaintiffs

           25.     On June 20, 2018, this Court appointed PARKS and SHEMIRANI to serve as Co-

    Lead Plaintiffs for the class in this class action pursuant to the Private Securities Litigation Reform

    Act of 1995 (“PSLRA”).

           26.     Plaintiffs each actively researched BITCONNECT and the BitConnect Investment

    Programs prior to making their purchases of BCCs and throughout the periods in which they

    invested in BITCONNECT. Accordingly, each of the Plaintiffs were personally, and successfully,

    solicited by the BITCONNECT Defendants in connection with their public representations and

    active solicitations to purchase BCCs or participate in the BitConnect Investment Programs.

           27.     Plaintiff PARKS is an individual domiciled in Washington, Louisiana and is sui

    juris. Beginning on or about August 24, 2017, Plaintiff PARKS funded his BITCONNECT

    account, through BITCONNECT’s website, by investing 2.39521532 bitcoin, which were valued




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    at the time at approximately $10,359.79. From August 24, 2017 through November 10, 2017,

    Plaintiff PARKS invested a sum total of 109.029 BTC in the BitConnect Investment Programs.

    On January 17, 2018, when BITCONNECT closed its lending and trading platforms, Plaintiff

    PARKS’ out-of-pocket investment loss at BITCONNECT totaled 49.03845866 bitcoin, which

    were believed to be valued at the time at approximately $544,032.66.

           28.    Plaintiff SHEMIRANI is an individual domiciled in Dubai, United Arab Emirates

    and is sui juris. Beginning on or about March 12, 2017, Plaintiff SHEMIRANI funded his

    BITCONNECT account, through BITCONNECT’s website, by investing 0.249 bitcoin, which

    were valued at the time at approximately $305.07. From March 12, 2017 through December 8,

    2017, Plaintiff SHEMIRANI invested a sum total of 192.7116 BTC in the BitConnect Investment

    Programs. On January 17, 2018, when BITCONNECT closed its lending and trading platforms,

    Plaintiff SHEMIRANI’s out-of-pocket investment loss at BITCONNECT totaled 150.28 bitcoin,

    which were believed to be valued at the time at approximately $1,667,206.32.

           29.    Plaintiff MARRYSHOW is an individual domiciled in Berwyn, Pennsylvania and

    is sui juris. Beginning on or about December 3, 2017, Plaintiff MARRYSHOW completed the

    “training program” available on Defendant ARCARO’s primary website to “funnel” investments

    into BitConnect —Futuremoney.io. Following Plaintiff MARRYSHOW’s completion of training

    on futuremoney.io, Plaintiff MARRYSHOW invested approximately 1.52838 bitcoin into the

    BitConnect Investment Programs. On January 17, 2018, when BITCONNECT closed its lending

    and trading platforms, Plaintiff MARRYSHOW’s out-of-pocket investment loss at

    BITCONNECT totaled approximately $27,870.00.

           30.    Plaintiff YOO is an individual domiciled in Canoga Park, California and is sui juris.

    Plaintiff YOO was personally and successfully solicited to invest in BitConnect by Defendants




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    ARCARO and MAASEN.           Specifically, Plaintiff YOO viewed Defendant ARCARO’s and

    MAASEN’s YouTube videos and signed up for BitConnect through their affiliate programs. From

    December 20, 2017 through December 29, 2017, Defendants ARCARO and MAASEN

    successfully solicited Plaintiff YOO’s investment of 1.59551122 bitcoin into the BitConnect

    Investment Programs. On January 17, 2018, when BITCONNECT closed its lending and trading

    platforms, Plaintiff YOO’s out-of-pocket investment loss at BITCONNECT totaled approximately

    $29,000.00.

           31.     Plaintiff ARIAS is an individual domiciled in Tampa, Florida and is sui juris.

    Plaintiff ARIAS was personally and successfully solicited to invest in BitConnect by Defendants

    ARCARO and FOX. Specifically, Plaintiff ARIAS viewed Defendant ARCARO’s and FOX’s

    YouTube videos and signed up for BitConnect through Defendant FOX’s referral affiliate

    program.     In approximately September 2017, Defendants ARCARO and FOX successfully

    solicited Plaintiff ARIAS’ investment of approximately $6,500.00 into the BitConnect Investment

    Programs. On January 17, 2018, when BITCONNECT closed its lending and trading platforms,

    Plaintiff ARIAS’ out-of-pocket investment loss at BITCONNECT totaled approximately

    $10,000.00.

           32.     Plaintiff STRUZEN is an individual domiciled in Canoga Park, California and is

    sui juris. Plaintiff STRUZEN was personally and successfully solicited to invest in BitConnect

    by Defendants ARCARO, JAMES and HILDRETH. Specifically, Plaintiff STRUZEN viewed

    Defendant ARCARO’s, JAMES’ and HILDRETH’s YouTube videos and signed up for

    BitConnect through their affiliate programs. From November 9, 2017 through December 20, 2017,

    Defendants ARCARO, JAMES, and HILDRETH successfully solicited Plaintiff STRUZEN’s

    investment of 4.75934893 bitcoin into the BitConnect Investment Programs. On January 17, 2018,




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    when BITCONNECT closed its lending and trading platforms, Plaintiff STRUZEN’s out-of-

    pocket investment loss at BITCONNECT totaled 2.55644348 bitcoin, which were believed to be

    valued at the time at approximately $28,400.00.

    II.    Defendants

           A.     The BitConnect Corporate Defendants

           33.    Defendant BITCOIN AMR LIMITED f/k/a BITCONNECT PUBLIC LIMITED is

    a foreign for-profit company organized in England and Wales and incorporated under the

    Companies Act 2006 as a private company limited by shares. The company was incorporated on

    September 4, 2017 as BitConnect Public Limited. On September 27, 2017, the company filed a

    special resolution changing its name to Bitcoin AMR Limited. Until May 18, 2018, BITCOIN

    AMR LIMITED’s corporate record listed its principal place of business at Grant Thornton House,

    22 Melton Street, Kings Cross, London, United Kingdom NW 1 2EP. On May 18, 2018, the

    company’s principal place of business was changed to PO Box 4385, 10944876: Companies House

    Default Address, Cardiff, CF14 8LH.

           34.    Defendant BITCONNECT INTERNATIONAL PLC is a foreign for-profit

    company organized in England and Wales and incorporated under the Companies Act 2006 as a

    private company limited by shares. The company was incorporated on September 6, 2017. Until

    January 31, 2018, BITCONNECT INTERNATIONAL PLC’s corporate record listed its principal

    place of business at Grant Thornton House, 22 Melton Street, Kings Cross, London, United

    Kingdom NW 1 2EP. On January 31, 2018, the company’s principal place of business was

    changed to PO Box 4385, 10948031: Companies House Default Address, Cardiff, CF14 8LH.

           35.    Defendant BITCONNECT LTD. was a foreign for-profit company organized in

    England and Wales and had been incorporated under the Companies Act 2006 as a private




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    company limited by shares. The company was incorporated on July 13, 2016. On March 13, 2018

    BITCONNECT LTD. was dissolved via compulsory strike-off.                  Prior to its dissolution,

    BITCONNECT LTD’s corporate record listed its principal place of business at The Panorama,

    Park Street, Ashford, United Kingdom TN24 8EZ.

              36.   Defendant BITCONNECT TRADING LTD., is a foreign for-profit company

    organized in England and Wales and incorporated under the Companies Act 2006 as a private

    company limited by shares. BITCONNECT TRADING LTD.’s corporate record lists its principal

    place of business at 23 St. Elizabeth Avenue, Bootle, United Kingdom L20 6FA.

              37.   Defendant BITCONNECT was initially operated from Gujarat, India.                   In

    September 2017, BITCONNECT’s principal operations were migrated to Dubai, United Arab

    Emirates -- more specifically, to the 135th floor of the Burj Khalifa.

              38.   Upon information and belief, the BITCONNECT entities are wholly interrelated

    and are used interchangeably as instrumentalities for the fraud and unlawful schemes described

    herein.

              B.    The BitConnect Developer Defendants

              39.   Defendant KOTADIYA is a former politician in India having served as a Member

    of the Legislative Assembly (MLA) for the Bharatiya Janata Party (BJP). The BJP is the current

    ruling political party in India. As detailed below, Defendant KOTADIYA, along with several

    other top BJP leaders, has been accused by the Indian National Congress (the “Congress”), a large

    political party in India, of being one of the “masterminds” behind BitConnect. In May 2018, an

    arrest warrant was issued for KOTADIYA in connection with an abduction and alleged extortion

    of 200 BTC from Shailesh Bhatt (“Bhatt”), and Indian businessman and investor in

    BITCONNECT. KOTADIYA thereafter absconded and released a video in which he stated that




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    “if he is arrested, he will reveal damning evidences which will expose top BJP leaders in the state”

    as having been involved with BITCONNECT. KOTADIYA also stated that he feared for his

    safety if he turned himself in because of his knowledge as to who was behind BITCONNECT. In

    September 2018, KOTADIYA was arrested. Since his arrest, there has been very little public

    information released concerning his criminal case or statements he has made.

           40.     Defendant GORASIYA is an individual formally domiciled in Surat, Gujarat,

    India. According to India’s Criminal Investigation Department (“CID”), GORASIYA was one of

    BITCONNECT’s founders. Defendant GORASIYA is believed to have personally acquired tens

    of millions of dollars through BITCONNECT’s fraudulent operations. India’s CID alleges that

    GORASIYA fled to Dubai in December 2017, one month prior to BITCONNECT’s collapse.

           41.     Defendant CHAUDHARI is an individual domiciled in Surat, Gujarat, India.

    According to India’s CID, CHAUDHARI was one of BITCONNECT’s founders. Defendant

    CHAUDHARI is believed to have personally acquired tens of millions of dollars through

    BITCONNECT’s fraudulent operations. India’s CID alleges that CHAUDHARI fled to Dubai in

    December 2017, one month prior to BITCONNECT’s collapse.

           42.     Defendant LATHIYA is an individual formally domiciled in Surat, Gujarat, India.

    According to India’s CID, LATHIYA was one of BITCONNECT’s founders. Defendant

    LATHIYA is believed to have personally acquired tens of millions of dollars through

    BITCONNECT’s fraudulent operations. India’s CID alleges that LATHIYA fled to Dubai in

    December 2017, one month prior to BITCONNECT’s collapse.

           43.     Defendant MAVANI is an individual formally domiciled in Surat, Gujarat, India.

    According to India’s CID, MAVANI was one of BITCONNECT’s founders and one of

    BITCONNECT’s “Administrators.” Defendant MAVANI is believed to have personally acquired




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    tens of millions of dollars through BITCONNECT’s fraudulent operations According India’s CID

    alleges that MAVANI fled India in February 2018 following his kidnapping, as detailed below.

           44.    Defendant SAVALIYA is an individual domiciled in Surat, Gujarat, India.

    SAVALIYA was one of BITCONNECT’s employees primarily responsible for various posting

    updates concerning BITCONNECT on social media platforms such as LinkedIn. SAVALIYA’s

    employment with BITCONNECT dates back to February 2016.

           45.    Defendant PUROHIT is an individual domiciled in Surat, Gujarat, India.

    PUROHIT received an “award” for being a “Top Regional Promoter” in India during the

    BITCONNECT Conference.         PUROHIT owns R.V. Purohit & Co., a “Tax & Accounts

    Consultant” company. Additionally, PUROHIT is co-owner of Innovative Biztrade Private

    Limited (“Biztrade”). Biztrade was incorporated on April 24, 2017. PUROHIT’s jointly owns

    Biztrade with Defendant DARJI who, as discussed below, has been arrested and labeled one of the

    “masterminds” behind BITCONNECT.

           46.    Ranjeet Saxena (“SAXENA”) is an individual domiciled in Surat, Gujarat, India.

    SAXENA is the sole owner Ranjeet Genus Private Limited, a purported “consultant” working in

    various fields, including “Social Media, Business Intelligence, Investment & Wealth Advisory

    Services and Cryptocurrency & Digital Wallets.” Additionally, SAXENA is co-owner of Vivid

    Sportz Private Limited, a company he recently used to purchase a professional wrestling team in

    India. SAXENA was one of Amit Bhardwaj’s (“Bhardwaj”) closest aides. Bhardwaj was the

    leader of a Ponzi scheme named “Gain Bitcoin.” Gain Bitcoin defrauded investors of $300 million.

    The scheme was shut down in April 2018, and Bhardwaj along with eight other individuals were

    arrested. Defendant SAXENA was also substantially involved with BITCONNECT. For example,




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    during the BITCONNECT Conference, SAXENA received a cash award for being a “Top

    Regional Promoter” in India.

           47.     Defendants SANDIP, SMIT and RAJ (collectively, the “NAIKS”) are individuals

    believed to be domiciled in Surat, Gujarat, India. As noted and detailed further below, Defendant

    DARJI was a key figure in BITCONNECT’s operations. The NAIKS are co-owners with

    Defendant DARJI, or members of his immediate family, in several companies that, upon

    information and belief have been used, or are being used, to launder funds invested in the unlawful

    BITCONNECT scheme.

           C.      The BitConnect Director and Promoter Defendants

           48.     Defendant SATISH is an individual believed to have been domiciled in Surat,

    Gujarat, India. According to India’s CID, SATISH fled to Dubai in December 2017, one month

    prior to BITCONNECT closing its lending and trading platform. Prior to his involvement with

    BITCONNECT, SATISH worked as a Mail Sorter for India’s Royal Mail. SATISH has been

    publicly linked to BITCONNECT since at least June 2016. SATISH is widely regarded as one of

    BITCONNECT’s founders.         For example, India’s CID alleges that SATISH was one of

    BITCONNECT’s founders and identifies him as officially the “Head of BitConnect Asia.”

    SATISH was a conduit through which the Developer Defendants and true founders of

    BITCONNECT communicated with the Promoter Defendants. CID further alleges that SATISH

    was also the founder of another cryptocurrency investment scheme called “Nexa Coin.”

           49.     Defendant PRASETEYA is believed to be domiciled in Indonesia. PRASETEYA

    was frequently referred to as BITCONNECT’s “Lead Development Director.” Prior to his

    involvement with BITCONNECT, PRASETEYA was a marketing manager employed by

    OneCoin Ltd. and its related corporate entities (“OneCoin”). OneCoin operates a Ponzi/pyramid




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    scheme extremely similar to BITCONNECT’s. To date, over 100 individuals have been arrested

    and prosecuted throughout the world for their involvement in OneCoin’s operations, and

    approximately $400 million in investor funds have been recovered. Defendant PRASETEYA

    frequently accompanied Defendant SATISH on “road shows” marketing BITCONNECT.

           50.      Defendant SANTOSO is an individual believed to be domiciled in Indonesia.

    SANTOSO served as an affiliate/recruiter for BITCONNECT, soliciting hundreds if not thousands

    of BITCONNECT investors throughout the world.               SANTOSO was the “Director” of

    BITCONNECT Indonesia.          SANTOSO frequently accompanied Defendants SATISH and

    PRASETEYA on “road shows” marketing BITCONNECT.

           51.      Defendant ROBERTS is an individual believed to be domiciled in Vietnam.

    ROBERTS served as an affiliate/recruiter for BITCONNECT, soliciting hundreds if not thousands

    of BITCONNECT investors throughout the world.               ROBERTS frequently accompanied

    Defendants SATISH, PRASETEYA and SANTOSO on “road shows” marketing BITCONNECT.

    ROBERTS and Defendant HELEN have been married at all relevant times.

           52.      Defendant HELEN is an individual believed to be domiciled in Vietnam. HELEN

    served as an affiliate/recruiter for BITCONNECT, soliciting hundreds if not thousands of

    BITCONNECT investors throughout the world. BITCOIN AMR LIMITED f/k/a BITCONNECT

    PUBLIC LIMITED’s corporate filings list Defendant HELEN as one of the company’s three

    shareholders.     Additionally, Defendant HELEN is listed as one of BITCONNECT

    INTERNATIONAL PLC’s shareholders.             Local media in Vietnam report that Defendant

    ROBERTS and HELEN are the actual owners of BITCONNECT. 4 Defendant HELEN frequently



    4 See, e.g., https://fintechtimes.org/co-nen-tu-hao-khi-chu-coin-bitconnect-scam-lon-nhat-lich-su-
    crypto-la-nguoi-viet.



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    accompanied Defendants SATISH, PRASETEYA, SANTOSO and ROBERTS on “road shows”

    marketing BITCONNECT.

           53.     Defendant SATAO is an individual believed to be domiciled in the Philippines.

    BITCONNECT’s early press releases claimed SATAO was the BITCONNECT’s “President” of

    “Development.” There is little information available able SATAO other than the fact that he was

    associated with another cryptocurrency investment scheme widely denounced as a scam: “BTC

    Panda.”

           54.     Defendant DARJI is an individual domiciled in Surat, Gujarat, India. India’s CID

    alleges that DARJI was one of BITCONNECT’s founders. Similarly, local media in India report

    that DARJI was one of the “masterminds” behind BITCONNECT. CID further alleges that in

    December 2017, DARJI fled to Dubai. However, for his involvement in BITCONNECT, DARJI

    was arrested on August 19, 2018 at an airport in Delhi, India as he arrived from Dubai. Authorities

    reportedly seized 169 BTC and 8 kg of gold from DARJI during his arrest. 5

           55.     Defendant JEPPESEN is an individual believed to be domiciled in the United States

    and is sui juris. According to published information, JOSHUA JEPPESEN held the title of a

    Director at BITCONNECT, serving as the “Development Director” for BITCONNECT’s

    operations in the United States and Europe.

           56.     Defendant ARCARO is an individual domiciled in Moorpark, California and is sui

    juris. Prior to his employment with BITCONNECT, Defendant ARCARO worked as a multi-

    level-marketer for the Empower Network, a product-based pyramid scheme which went bankrupt

    in August 2017. Defendant ARCARO began promoting BITCONNECT in or about June 2018.



    5  See, e.g., https://bitcoinexchangeguide.com/alleged-bitconnect-crypto-scam-sees-head-of-
    operation-divyesh-darji-arrested-in-delhi/.



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    ARCARO was initially a promoter underneath Defendant GRANT, until ARCARO applied for

    and was hired as one of BITCONNECT’s “National Promoters”; at which point most influential

    U.S.-based promoters, including Defendant GRANT, reported to ARCARO.                  According to

    paperwork filed with the corporate registry office in the United Kingdom, ARCARO was an active

    Director of BITCONNECT INTERNATIONAL PLC. ARCARO served BITCONNECT as a

    “National Promoter” tasked with managing a team of U.S.-based affiliates/recruiters. ARCARO

    reported directly to Defendant SATISH. ARCARO was responsible for managing, inter alia,

    Defendants JAMES, GRANT, HILDRETH, MAASEN, and FOX. Additionally, ARCARO

    himself was one of the most successful affiliate/recruiters for BITCONNECT, soliciting hundreds

    if not thousands of BITCONNECT investors in the United States and abroad through social media

    sites such as YouTube and Facebook.

            57.     Defendant LABRECHE in an individual believed to be domiciled in Canada.

    According to paperwork filed with the corporate registry office in the United Kingdom,

    LABRECHE was an active Director of BITCONNECT INTERNATIONAL PLC. LABRECHE

    served BITCONNECT as a “National Promoter” tasked with managing a team of Canadian-based

    affiliates/recruiters.   LABRECHE reported directly to Defendant SATISH.               Prior to his

    involvement with BITCONNECT, LABRECHE was a successful “Independent Business Owner”

    employed with ACN Network Marketing, a large MLM company.

            58.     Defendant JAMES is an individual believed to be domiciled in Myrtle Beach, South

    Carolina and is sui juris. JAMES served as an affiliate/recruiter for BITCONNECT, soliciting

    hundreds if not thousands of BITCONNECT investors in the United States and abroad through

    social media sites such as YouTube and Facebook.




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           59.    Defendant HILDRETH is an individual domiciled in Laguna Nigel, California and

    is sui juris. HILDRETH served as an affiliate/recruiter for BITCONNECT, soliciting hundreds if

    not thousands of BITCONNECT investors in the United States and abroad through social media

    sites such as YouTube and Facebook.

           60.    Defendant CRYPTO CLOVER is an individual formerly domiciled in Seattle,

    Washington. Following BITCONNECT’s collapse, CRYPTO CLOVER moved his office to

    Malaysia. CRYPTO CLOVER served as an affiliate/recruiter for BITCONNECT, soliciting

    hundreds if not thousands of BITCONNECT investors in the United States and abroad through

    social media sites such as YouTube and Facebook.

           61.    Defendant GRANT is an individual believed to be domiciled in Miami, Florida and

    is sui juris. GRANT served as an affiliate/recruiter for BITCONNECT, soliciting hundreds if not

    thousands of BITCONNECT investors in the United States and abroad through social media sites

    such as YouTube and Facebook.

           62.    Defendant CRYPTONICK is an individual believed to be domiciled in the United

    States and is sui juris. His true name is Nicholas Trovato, though the state of his domicile is

    unknown at this time.    CRYPTONICK served as an affiliate/recruiter for BITCONNECT,

    soliciting hundreds if not thousands of BITCONNECT investors in the United States and abroad

    through social media sites such as YouTube and Facebook.

           63.    Defendant MAASEN is an individual domiciled in Tulsa, Oklahoma and is sui

    juris. MAASEN served as an affiliate/recruiter for BITCONNECT, soliciting hundreds if not

    thousands of BITCONNECT investors in the United States and abroad through social media sites

    such as YouTube and Facebook.




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           64.     Defendant FOX is an individual domiciled in San Diego, California and is sui juris.

    FOX served as an affiliate/recruiter for BITCONNECT, soliciting thousands of BITCONNECT

    investors in the United States and abroad through social media sites such as YouTube and

    Facebook.

           65.     Defendant DOE NOS. 2–10 are individuals located in the United States and abroad

    who created and operated BITCONNECT and/or served as affiliates/recruiters for

    BITCONNECT, soliciting hundreds if not thousands of BITCONNECT investors in the United

    States and abroad through social media sites such as YouTube and Facebook.

           D.      Other Liable Persons/Entities

           66.     In addition to those persons and entities set forth as Defendants herein, there are

    likely other parties who may well be liable to Plaintiffs and the Class (defined below), but respecting

    whom Plaintiffs currently lack specific facts to permit them to name such person or persons as a

    party defendant. By not naming such persons or entities at this time, Plaintiffs are not waiving

    their right to amend this pleading to add such parties, should the facts warrant adding such parties

                          PLAINTIFFS’ CLASS ACTION ALLEGATIONS

           67.     Plaintiffs bring this action individually and as a class action on behalf of all

    individuals and entities who transferred to BITCONNECT any fiat currency or cryptocurrency to

    invest in BCC and/or the BitConnect Investment Programs and who suffered financial injury as a

    result thereof (the “Class”). Excluded from the Class are Defendants herein and any person, firm,

    trust, corporation, or other entity related to, controlled by, or affiliated with, any Defendant,

    including the immediate family members of the individual Defendants.




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           68.      Additionally, the Class is comprised of subclasses of investors, each consisting of

    a class of investors who were personally and successfully solicited to invest in the BitConnect

    Investment Programs by each of the Promoter Defendants.

           69.      This action is properly maintainable as a class action under Federal Rule of Civil

    Procedure 23.

           70.      While the exact number of Class members is presently unknown to Plaintiffs and

    can only be ascertained through discovery, Plaintiffs believe that there are thousands of members

    in this Class. All members of the Class may be identified by records maintained by Defendants

    and may be notified of the pendency of this action by mail, using forms of notice similar to that

    customarily used in securities class actions.

           71.      There are questions of law and fact which are common to the Class and which

    predominate over questions affecting any individual Class member. The common questions

    include, inter alia, the following: (i) whether the BITCONNECT Defendants offered and sold

    unregistered securities in violation of the federal securities laws; (ii) whether the BITCONNECT

    Defendants engaged in unlawful business practices in violation of Florida’s Deceptive and Unfair

    Trade Practices Act; (iii) whether Defendant BITCONNECT breached its contracts with Plaintiffs

    and the Class; (iv) whether the BITCONNECT Defendants fraudulently solicited investments from

    Plaintiffs and the Class; (v) whether Defendants have been unjustly enriched by the unlawful

    conduct alleged herein; (vi) whether Plaintiffs and the Class will suffer irreparable harm if such

    unlawful activities are not remedied; and (vii) whether Plaintiffs and the Class are entitled to

    compensatory, exemplary, punitive, injunctive, or rescissory relief as a result of Defendants’

    wrongful conduct alleged herein, and the measure of such damages.




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           72.     Plaintiffs’ claims are typical of the claims of the other members of the Class, and

    Plaintiffs do not have any interests adverse to the Class. Additionally, Plaintiffs and the other

    members of the Class have all sustained harm in a substantially identical manner as a result of

    Defendants’ wrongful conduct as alleged herein.

           73.     Plaintiffs will fairly and adequately protect the interests of the Class and have

    retained competent counsel experienced in litigation of this nature.

           74.     Separate actions prosecuted by individual members of the Class would create a risk

    of inconsistent or varying adjudications with respect to individual members of the Class, which

    could establish incompatible standards of conduct for Defendants.

           75.     Plaintiffs anticipate that there will be no difficulty in managing this litigation. A

    class action is superior to other available methods for the fair and efficient adjudication of this

    controversy.

           76.     Defendants have acted on grounds generally applicable to the Class with respect to

    the matters complained of herein, thereby making appropriate the relief sought herein with respect

    to the Class as a whole.

           77.     Accordingly, Plaintiffs seek compensatory, exemplary, punitive, rescissory,

    injunctive and other equitable relief on behalf of themselves and the Class to prevent the

    irreparable injury they will continue to suffer absent judicial intervention.

                                   SUBSTANTIVE ALLEGATIONS

    I.     Background on Blockchain Technology and Initial Coin Offerings

           A.      Blockchains
           78.     A “blockchain” is essentially a digitized, decentralized, public ledger that

    cryptographically records, preserves, and presents information. The general idea is that each

    “block” contains information, such as details on transactions that are made. After a “block” is



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    created (with cryptography to verify its contents), the information inside of it cannot be changed.

    The “block” then becomes part of the “blockchain,” and an encrypted version of the information

    contained therein becomes publicly available along with all the previous “blocks” in the chain.

    After this process is complete, another block is created with additional information, and so on.

            79.     To date, most “blockchains” are used to record transactions involving virtual

    currencies, e.g., BTC and ETH. However, a “blockchain” could be used to record all types of

    information. For example, a blockchain could be used for deed recordation/transfers or even

    transfers of stock certificates.

            B.      Initial Coin Offerings
            80.     An initial coin offering (“ICO”) is a capital raising event in which an entity offers

    investors a unique “coin” or “token” in exchange for consideration—most commonly in the form

    of established virtual currencies (typically BTC and ETH) or fiat currency. These tokens are issued

    on a blockchain and are oftentimes listed on online platforms, called virtual currency exchanges,

    where they are tradable for virtual or fiat currencies.

            81.     To participate in an ICO, investors are typically required to transfer virtual

    currencies to the issuer’s address, online wallet, or other account. During an ICO, or after its

    completion, the issuer will typically distribute its unique “tokens” to the participants’ unique

    address on the blockchain. Similar to stockholders in an initial public offering (“IPO”), holders of

    these tokens are then entitled to certain rights related to a venture underlying the ICO, such as

    profits, shares of assets, use of certain services provided by the issuer, and/or voting rights.

    II.     Background on BitConnect

            A.      BitConnect’s Formation and Creation of BCC

            82.     BITCOIN       AMR     LIMITED      f/k/a   BITCONNECT          PUBLIC      LIMITED;

    BITCONNECT INTERNATIONAL PLC; BITCONNECT LTD.; and BITCONNECT TRADING



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    LTD. (collectively “BITCONNECT”) are all parts of the same foreign technology organization

    that conducted its business on the internet, principally by means of websites accessible at

    www.bitconnect.co and www.bitconnectcoin.co.

           83.     BITCONNECT describes itself as “an opensource all-in-one bitcoin and crypto

    community platform designed to provide multiple investment opportunities with cryptocurrency

    education where it is entirely possible to find the independence we all desire, in a community of

    like-minded, freedom-loving individuals who, like you, are seeking the possibility of income

    stability in a very unstable world.”

           84.     BITCONNECT launched on or about February 19, 2016. The organization initially

    claimed to be involved in creating a social community and education programs relating to

    cryptocurrencies. This idea was short-lived, as BITCONNECT soon thereafter transitioned into

    creating its own cryptocurrency (BCCs). In June 2016, BITCONNECT launched the purported

    “World First Automated Bitcoin Lending platform” which Defendant SATISH touted as offering

    “Earning Opportunity Up to 30% a month and 5% Referral Bonus.”

           85.     In June 2016, Defendant SATISH began seeking “Business Partner(s)” to promote

    the initial BITCONNECT investment scheme. For example, on June 30, 2016, he posted the

    following on Facebook:




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           86.     The initial iteration of the BITCONNECT lending platform did not involve any

    BCCs; rather, investors were expected to lend BTC directly to BITCONNECT. That investment

    scheme received little-to-no attention.

           87.     On November 8, 2016, in an effort to curb tax evasion, Indian Prime Minister

    Narendra Modi announced the demonetization of all 500 and 1,000 rupee notes -- declaring that

    they would no longer be recognized as legal tender as of December 30, 2016.

           88.     As reported by Bloomberg, an estimated $650 million of “black money”

    (undeclared income which goes untaxed) flowed into Gujarat, India following the Prime Minister’s

    announcement so those funds could be hidden away into assets such as diamonds and

    cryptocurrencies. The prevailing theory is that BITCONNECT’s founders capitalized on this

    unexpected announcement by conducting an ICO which ran from November 16, 2016 through




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    December 30, 2016 (the “BITCONNECT ICO”). The BITCONNECT ICO introduced BCC into

    the marketplace and is believed to have attracted those seeking to launder their “black money.”

           89.     BITCONNECT describes BCC as “an open source, peer-to-peer, community

    driven decentralized cryptocurrency that allow [sic] people to store and invest their wealth in a

    non-government controlled currency, and even earn a substantial interest on investment [sic]. This

    means anyone holding BitConnect Coin in their wallet will receive interest on their balance in

    return for helping maintain security on the network.” Similarly, BCC was described as not just

    “an investment tool; [but as] the investment tool you need to jump start your financial security.”

           90.     Shortly following the BITCONNECT ICO, BITCONNECT launched the

    BitConnect Exchange – a cryptocurrency exchange where investors could use BTC or fiat currency

    to purchase BCC.

           91.     Over the following year, BITCONNECT implemented various investment

    programs, including the BitConnect Lending Program, the BitConnect Staking Program, and the

    Referral/Affiliate Program. BITCONNECT marketed various uses for BCC:




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             B.     The BitConnect Organizational Structure
             92.    The sudden influx of capital into the BITCONNECT ICO from those seeking to

    launder their “black money” enabled BITCONNECT to rapidly expand its operations. The

    Developer Defendants, Defendant SATISH, and the yet-to-be identified BITCONNECT founders

    quickly recruited individuals heavily experienced with MLM schemes, including Defendants

    PRASETEYA, ROBERTS, HELEN, LATHIYA, SANTOSO, DARJI, and SATAO.

             93.    By August 2017, BITCONNECT’s operations had expanded to include

    experienced MLM promoters throughout the world.          For example, in early-August 2017,

    BITCONNECT began holding training events and conferences in Indonesia attended by successful

    Promoter Defendants, including Defendants SATISH, PRASETEYA, ROBERTS, HELEN,

    SANTOSO, ARCARO, LABRECHE, and CRYPTO CLOVER. 6

             94.    BITCONNECT’s organizational structure was, unsurprisingly, itself a pyramid.

    The top “promoter” employee was Defendant SATISH. Each of the “National Promoters”

    reported to SATISH. The “National Promoters” then had “Regional Promoters” who reported to

    them.

             95.    The National Promoters who reported directly to SATISH included Defendants:

    PRASETEYA and SANTOSO on behalf of BitConnect Indonesia; ROBERTS and HELEN on

    behalf of BitConnect Vietnam; JEPPESEN on behalf of Europe and North America; ARCARO on

    behalf of the United States; LABRECHE on behalf of CANADA; and SATAO on behalf of the

    Philippines.

             96.    The Regional Promoters identified herein each reported directly to Defendant

    ARCARO or Defendant JEPPESEN, including: JAMES; HILDRETH; GRANT; CRYPTO



    6   See, e.g., https://www.youtube.com/watch?v=3R5yiXgQ2KI.



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    CLOVER; CRYPTONICK, MAASEN, and FOX. Additionally, certain Regional Promoters had

    frequent contact and communication with Defendants SATISH, DARJI and/or LATHIYA.

             97.    In mid-2017, BITCONNECT began holding meetings for “top promoters” in

    Dubai. For example, in December 2017, Defendant CRYPTO CLOVER attended one of these

    meetings and published a video discussing what occurred during that particular meeting. In his

    video, CRYPTO CLOVER stated:

                    There was about 50 people at this meeting . . . We went over some
                    new guidelines for promoters, for top promoters and regional
                    promoters . . . we went over a few different security measures.
                    Overall the event was really interesting. It was led by Satish … For
                    the most part they’re trying to find ways to grow and expand so I
                    think you’re going to see some new things coming forward. 7

             98.    As noted, BITCONNECT INTERNATIONAL PLC was incorporated on

    September 6, 2017. Defendants HELEN, DARJI, LABRECHE, SANTOSO, and ARCARO were

    each listed as its initial shareholders and directors.

             99.    On February 19, 2018, ARCARO filed an application in the High Court of Justice

    Business and Property Courts of England and Wales Companies Court (ChD) claiming that he was

    not and had never been a shareholder of BITCONNECT INTERNATIONAL PLC. Defendant

    ARCARO’s application claimed that filings referring to him as a director or shareholder in

    BITCONNECT INTERNATIONAL PLC were false, and he thus sought to remove his name from

    inclusion on any such records. The application was unopposed and subsequently granted.

             100.   On September 26, 2018, Defendant GRANT publicly released videos on YouTube

    containing two chat logs between Defendants ARCARO, JAMES, and himself (the “Chat Logs”).

    The first log was a group chat log including Defendants ARCARO, JAMES, and GRANT (the




    7   See https://www.youtube.com/watch?v=06mc2I0lZec.



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    “Group Chat”). The second log included messages directly between Defendant ARCARO and

    GRANT (the “Arcaro Chat”). These chat logs consist of messages from June 2017 through

    December 2017 and provide substantial insight into inner-workings of BITCONNECT’s

    organization with respect to its National and Regional Promoters. On or about October 4, 2018,

    Defendant GRANT deleted both Chat Logs from YouTube.

           101.     The Group Chat logs reveal that Defendant ARCARO’s application protesting his

    listing as a BITCONNECT Director was a farce. For example, on November 10, 2017, Defendant

    JAMES messaged GRANT in the group chat by posting a link to BITCONNECT

    INTERNATIONAL PLC’s corporate record and stated:

           James:      This is the new license correct?

           Craig:      yes
                       thats the new setup
                       international company ran by all top promoters

                       ⁕                   ⁕                       ⁕

           James       Craig how many times have you been asked about the UK filing thing
                       today?

           Grant:      too many, and i see the new company with all the promoters, pretty slick
                       geln [sic] told me about aLL THAT [sic]
                       he had to send all his documents to bitconnect a couple months ago so
                       they can make a new company with all the promoters.

           C.       The Owners of BitConnect
           102.     According to media reports in India, leaders in the Congress political party, India’s

    CID and/or local reports relating to the BITCONNECT scheme, the behind the scenes

    BITCONNECT owners included Defendant KOTADIYA, GORASIYA, CHAUDHARI

    MAVANI, and LATHIYA.

           103.     Additionally, as noted, Defendants PUROHIT, SAXENA, RAJ, SANDIP, and

    SMIT were each either involved in BITCONNECT’s operations or are involved in laundering



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    BITCONNECT investors’ funds. With respect to Defendant PUROHIT, he received a “Top

    Regional Promoter Award” during the BITCONNECT Conference and thus, undeniably worked

    with BITCONNECT.        However, not only did PUROHIT receive an award for promoting

    BITCONNECT, but he also co-owns a company named Biztrade with Defendant DARJI, who has

    been arrested and is alleged to be one of the “masterminds” behind BITCONNECT. Based on the

    foregoing, it is reasonable to infer that PUROHIT is more involved in BITCONNECT’s operation

    than the typical BITCONNECT promoter.

           104.   Similarly, Defendant SAXENA also received a “Top Regional Promoter Award”

    during the BITCONNECT Conference. The fact that SAXENA has already been linked at a high

    level to another cryptocurrency Ponzi scheme (Gain Bitcoin) coupled with the facts that he worked

    for BITCONNECT during the same timeframe and has amassed enough wealth as a “consultant”

    to purchase a professional wrestling team is highly indicative of the fact that SAXENA was likely

    one of the key players in the BITCONNECT organization.

           105.   The NAIKS and DARJI, or members of his immediate family, are co-directors/co-

    owners of various companies with RAJ, SANDIP and/or SMIT, each of which were created, or

    purchased, during BITCONNECT’s operation or following its closure. For example:

           •   DARJI and SANDIP each became directors/owners in S and D Integrated
               Private Limited (“S&D”) on July 28, 2017; and on March 21, 2018, SMIT and
               RAJ also become owners/directors in S&D;

           •   DARJI and SANDIP each became directors/owners in WFConnect
               Technologies Limited on April 1, 2017;

           •   SANDIP became a director/owner in Y2 Integrated Agro Ventures and
               Consultancy Private Limited (“Y2”) on July 28, 2017; and on January 6, 2018
               DARJI’s wife Malini Divyesh Kumar Darjee became a director/co-owner in
               Y2;

           •   DARJI’s son Rankesh Divyeshbhai Darji and RAJ each became a
               director/owner in FN Realty Private Limited (“FN”) on January 12, 2018
               (SMIT also became a director/owner in FN on March 21, 2018); and



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           •   DARJI’s son Dimki Divyesh Bhai Darji and RAJ each became directors/owners
               in MT Infrastructure Private Limited (“MT”) on January 15, 2018; and on
               March 21, 2018, SMIT also became a director/owner in MT.

           106.    Based on the timing when the parties engaged in such ventures and the fact that

    DARJI was without question a key player in the BITCONNECT scheme, the NAIKS were

    involved in BITCONNECT’s operation as well or in laundering funds illegally raised from

    Plaintiffs and the Class.

           107.    The facts and events described below were obtained from an Order issued in the

    High Court of Gujarat at Ahmedabad on August 20, 2018 in the matter entitled Kiritbahi Jagubhai

    Vala vs. State of Gujarat, R/CR.MA/14587/2018 and local media reports concerning

    developments regarding the same.

           108.    Mr. Bhatt is an individual formerly domiciled in Surat, Gujarat, India. Bhatt was

    an investor in BITCONNECT who suffered a few hundred thousand dollars in financial losses due

    to BITCONNECT’s collapse in January 2017. Shortly after BITCONNECT’s collapse, Bhatt

    enlisted the services of various individuals to locate and capture Defendant SATISH. Bhatt’s

    efforts led to the identification of Defendant SAVALIYA as being one of BITCONNECT’s

    employees.

           109.    On January 30, 2018, Bhatt and his associates are alleged to have abducted

    SAVALIYA and taken him to a farmhouse where he was threatened and held for three days. On

    February 1, 2018, Defendant SAVALIYA disclosed that Defendant MAVANI was one of

    BITCONNECT’s administrators and had access to funds invested in BITCONNECT’s fraudulent

    operation. Additionally, SAVALIYA disclosed the location where MAVANI could be found.

    That same day, Bhatt and his associates are alleged to have abducted Defendant MAVANI.




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            110.   MAVANI was thereafter allegedly beaten and forced to transfer 2,422 BTC to Bhatt

    and his associates. As of the date of this amended complaint, this 2,422 BTC is valued at

    approximately $16,027,391.24.       Bhatt then demanded additional funds in exchange for

    MAVANI’s release, which prompted MAVANI to contact Defendant GORASIYA for assistance.

    GORASIYA subsequently caused an additional $1,960,690 to be transferred to Bhatt and his

    associates. Following MAVANI’s release, he is believed to have fled India for Dubai.

            111.   On or about February 10, 2018, Bhatt was abducted by various individuals,

    allegedly beaten and forced to transfer 200 BTC to his abductors. Shortly thereafter, Bhatt filed a

    complaint alleging that he was abducted at the direction of Defendant KOTADIYA. Local media

    reports stated that Bhatt was abducted by BITCONNECT as retribution for his actions the prior

    week.

            112.   In May 2018, an arrest warrant was issued against Defendant KOTADIYA in

    connection with the investigation concerning Bhatt’s abduction.            KOTADIYA promptly

    absconded. While on the lam, KOTADIYA released a video claiming that Bhatt had originally

    stolen the BTC at issue from BITCONNECT employees in February 2018 and further claimed that

    he feared turning himself in because he had evidence implicating senior politicians as being

    involved with BITCONNECT. Additionally, KOTADIYA stated that “if he is arrested, he will

    reveal damning evidences which will expose top BJP leaders in the state” as having been involved

    with BITCONNECT.

            113.   Defendant KOTADIYA, along with several other top BJP leaders, has been accused

    by the Indian National Congress (the “Congress”), a large political party in India, of being one of

    the “masterminds” behind BitConnect.            Rather than investigate BITCONNECT and

    KOTADIYA’s claims, local enforcement agencies in India opened an action against Bhatt for his




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    abduction of BITCONNECT employees. Following those revelations, Bhatt and his family fled

    India. To date, the CID has charged ten (10) individuals, including Bhatt, with conspiracy to

    abduct BITCONNECT employees and extort funds.

           114.     In September 2018, KOTADIYA was arrested for his role in abducting Bhatt.

    Since his arrest, there has been very little public information released concerning his criminal case

    or statements he has made relating to BITCONNECT.

           D.       The BitConnect Websites
           115.     BITCONNECT           maintained          dozens     of       websites       including,

    bitconnect.com/.online/.in/.net/.org/.xyz/.tech/.info/.biz/.cc. BITCONNECT’s primary websites

    were accessible at http://bitconnect.co and a website accessible at http://bitconnectcoin.co (the

    “BitConnect Websites”). The BitConnect Websites were accessible worldwide to the general

    public, including residents of United States.

           116.     The BitConnect Investment Programs were available for purchase by individuals

    in the United States and worldwide through the BitConnect Websites and affiliated websites

    rendered in foreign languages. The investments were promoted on social media pages including,

    but not limited to, Facebook, YouTube, Twitter, Reddit, LinkedIn, Instagram, and Craigslist.

           117.     BITCONNECT promoted its Investment Programs on the BitConnect Websites by

    making the following representations:

                (a) “There are multiple ways to invest in the BitConnect platform with
                    different level of earning opportunity associated”;

                (b) “You can invest BitConnect Coin in BitConnect lending platform
                    exclusively from the BitConnect Dashboard. This investment option
                    involved profiting from BitConnect trading bot and volatility software.
                    You will receive daily profit based on your investment option. Upon
                    investment term completion, you will receive your capital back to take
                    out from the BitConnect lending platform or optionally reinvest back in
                    lending platform to continue receiving daily profit”; and




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                (c) “Invest your wealth in community-driven decentralized cryptocurrency.
                    Using BitConnect public exchanges, you can buy, sell and trade
                    BitConnect Coin (BCC) directly to and from each other with no central
                    organization involved.”

           118.     Upon information and belief, Defendant JEPPESEN played an integral role in

    developing and promoting the BitConnect Websites.           Without his vital contributions, the

    BitConnect Websites would not have functioned as well as they did and would not have ensnared

    as many victims who fell prey to Defendants’ promotion of BCCs and the BitConnect Investment

    Programs.

    III.   BCC and the BitConnect Investment Programs

           A.       Trading BCC
           119.     Trading BCC was marketed as an “investment option” that could be “used to profit

    on price fluctuation” in that investors could “buy BitConnect coin at a lower price and sell[ ]

    them at [a] higher price.” Additionally, investors could “profit[ ] from downward movements in

    [BCC] price by selling them at a higher price and buy[ing] them again at a lower price and

    pocketing the price difference.”

           120.     In addition to trading BCC, the two primary investment opportunities Defendants

    touted were the BitConnect Lending Program and the BitConnect Staking Program. To participate

    in either investment opportunity, investors were required to expend BTC or fiat currency to

    purchase BCC on the BitConnect Exchange.

           B.       The BitConnect Lending Program
           121.     The BitConnect Lending Program was described as an “investment option [that]

    involves profiting from [the] Bitconnect trading bot and volatility software” under which investors

    would “receive daily profit based on [their] investment option.” Following the “term completion,




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    [investors] [would] receive [their] CAPITAL BACK to take out from [the] Bitconnect lending

    platform or optionally [sic] reinvest back in lending platform to continue receiving daily profit.”

           122.    The BitConnect Lending Program offered up to forty percent (40%) interest per

    month as well as additional interest on a daily basis. The general mechanics of the program are

    demonstrated in the following graphic BITCONNECT published:




           123.    In soliciting investors for the BitConnect Lending Program, BITCONNECT used

    online banner ads such as the following:




           124.    Under the BitConnect Lending Program investors would “lend” their BCCs to

    BITCONNECT – “with no risk” – as part of an investment scheme whereby BITCONNECT

    ostensibly used these BCC tokens to fund the trading activities using its Volatility Software.




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           125.    Once the funds were deposited into the BitConnect Lending Program, trading bots

    using the Volatility Software purportedly managed those funds, generating a guaranteed return

    using its volatility predictions for the price of BTC. In exchange, investors receive income in the

    form of a daily fixed interest rate, and a bonus interest percentage, before eventually receiving the

    return of the principal amount invested.

           126.    In short, investors were sold the promise of profit merely through “lending” BCCs

    and enjoying the guaranteed returns provided by trading bots and the Volatility Software. These

    returns were allegedly backed by the earnings promised by BITCONNECT’s development and

    implementation of the trading algorithms, which would purportedly produce returns sufficient to

    pay the following rates and bonuses:




           C.      The BitConnect Staking Program
           127.    The BitConnect Staking Program incentivized investors to purchase and hold BCCs

    by offering “guaranteed” interest paid in BCC. The BitConnect Staking Program was sold to the

    public as an investment program that promised investors could earn interest of up to ten percent

    (10%) per month over a specified term through a process called “Proof of Stake Minting.” In

    essence, the BitConnect Staking Program and BCCs in general were sold as “interest bearing

    asset[s] with 120% return per year. It is that simple.”




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           128.    The general mechanics of the BitConnect Staking Program are demonstrated in the

    following graphic BITCONNECT published:




           129.    To participate in the BitConnect Staking Program, investors were required to

    download and install the BitConnect-QT wallet software to hold their BCCs; eventually

    BITCONNECT also released an online version of the BitConnect-QT Wallet. After holding their

    BCCs in the BitConnect-QT Wallet for fifteen (15) days, an investor’s BCCs would accrue

    interest. The amount of interest paid to investors was purportedly contingent upon the dates of the

    investors’ investments:




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           130.    BITCONNECT further represented that the BitConnect Staking Program was an

    opportunity for investors to: (i) “[s]ecure [their] future by gaining quick profit growth for

    tomorrow that is practical and attainable;” (ii) achieve “financial freedom;” (iii) “begin staking or

    holding BitConnect Coin and watch [their] interest grow;” and (iv) that “the more [ BCC investors]

    hold, the more [they] earn.”

           D.      The BitConnect Referral Program
           131.    In connection with the BitConnect Investment Programs, BITCONNECT operated

    the Referral Program, pursuant to which “affiliates” would earn additional income for referring

    additional investors to investing in BITCONNECT. The Referral Program was a run-of-the-mill

    pyramid scheme. Initially, the program extended “to Infinity” in that after the tenth (10) level was

    reached in the pyramid, 0.01% of all investments made by subsequent investors in the pyramid

    would siphon upwards to the top affiliate. The concept is more plainly visible in the following

    graphic:




           132.    Eventually, BITCONNECT modified the Referral Program to “7 levels of earning

    potential to” investors based on the number of referrals that signed up for BITCONNECT.




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    However, the core concept and fraudulent pyramid scheme remained in essence.                       Indeed,

    BITCONNECT encouraged investors to “[i]nvite [their] friends and family to join BitConnect via

    [their] unique referral link to start earning a serious income from [BITCONNECT’s] affiliate

    program” and to “[s]pread the word on social media and other online platforms to help” make

    BITCONNECT a success.

    IV.      The BitConnect National and Regional Promoters

             A.        Defendants Satish and Darji
             133.      As noted, while Defendant SATISH was the top public “Promoter” employed by

    BITCONNECT, he was largely a figurehead and conduit through which the actual founders of

    BITCONNECT could communicate with the National Promoters. As explained by Defendant

    CRYPTO CLOVER in a video he published discussing his relationships with Defendants SATISH

    and DARJI:

                   I would say that I had a better rapport or relationship with Divesh than Satish.
                   And I was able to communicate with Satish and, you know, I had um,
                   different conversations, at different times, with him. I hung out with him in,
                   uh Santa Clara during that event. And he’s um, you know, he’s a very shy
                   guy. And you know, I’ve kind-of known him on a little bit of a personal
                   level. Those guys are very central to kind-of what’s going on with
                   BitConnect now. Now, they’re not the main developers. So there’s a
                   developer team and those developers have, you know, for, you know, for
                   those of you guys that have been following the story, they’ve been
                   anonymous. They haven’t, you know. And nobody really knows how to get
                   in contact with those guys other than Satish and Divyesh. From my
                   understanding. 8

             134.      The fact that SATISH was far from the “mastermind” behind BITCONNECT was

    well-known amongst the National and Regional Promoters. 9 For example, Defendant GRANT

    published a video recounting a discussion he had with SATISH, in which he stated that SATISH


    8   At 7:56.
    9   https://www.youtube.com/watch?v=nQnLSYU164E.



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    “explained it to him that [SATISH’s] role was really just a conduit between people like [GRANT]

    and the ‘system,’ the ‘system.’ So, [SATISH] doesn’t have a huge responsibility.”

             135.   Similarly, in August 2017, Defendant SATISH gave an interview in which he was

    asked about whether there would be an opportunity to “meet more of the BitConnect team” at the

    BITCONNECT Conference “like developers and support personnel.” In response, SATISH stated,

    “Yeah, everybody’s waiting to meet the developers and, uh, the founder of the system. But

    actually, they are not likely to come to the event. Because we are [a] combination, we are

    developing the networking all around the world, and they, don’t want to be on the stage, for some

    reasons and that’s why we might not see [them].” 10

             136.   As noted, Defendant DARJI was arrested in August 2018 and is alleged to be one

    of the “masterminds” behind BITCONNECT. Upon information and belief, in addition to the

    Aston Martin Vantage he received from BITCONNECT, DARJI has amassed tens of millions of

    dollars through BITCONNECT -- so much so that he was able to purchase the entire 135th floor

    of the Burj Khalifa in Dubai as well as a separate penthouse in Dubai. Defendant DARJI was an

    enthusiastic promoter of BITCONNECT, and he made sure his affection for the scheme was

    known in his speech at the BITCONNECT Conference:

               Good evening friends! HELLO BCC. I’m Divyesh Darji from India.
               Welcome to BitConnect Annual Conference 2017. Guys, 2017 and 18 is the
               emerging year for the cryptocurrency . . . Seven-Fifty millions [sic], billions
               [sic]; Seven point six million billion [sic] people of the world. One percent
               of that still don’t know about the BitCoin [sic]! If! One percent comes into
               the cryptocurrency market, think! What would be the cost of Bitcoin! Never
               ever imagine [sic]! Think! What would happen the big BCC coin value [sic]!
               Today, January 1st started with one dollar [sic]! And today, its two-hundred
               and fifteen dollar! [Inaudible]! . . . I would like to request you [sic], find out
               and take the help of the Google! Learn about the cryptocurrency! Learn about
               the Bitcoin! And, one more thing, keep in mind, 95% of the cryptocurrency
               are BOGUS! And, only ONE and one of the genuine! And authentic! BCC

    10   https://www.youtube.com/watch?v=7BBx227koPo.



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                Platform, available in the world [sic]! Who!? Who makes ordinary people
                into billionaires and going to be billionaires [sic]! Come, join us, learn about
                the cryptocurrency! [inaudible] BCC! BCC! BCC!

           137.     Defendant DARJI, much like SATISH, was largely a figurehead for

    BITCONNECT.          Nonetheless, DARJI has profited handsomely from his participation in

    defrauding tens of thousands of individuals of billions of dollars. Since his arrest, DARJI has yet

    to provide much more than a pithy proclamation that he is “innocent.”

           B.       Defendants Arcaro, James, and Grant
           138.     Defendant ARCARO was responsible for managing a large team of affiliate

    markets for BITCONNECT; and he personally assisted affiliates with preparing sales presentations

    and honing their sales pitches to potential investors in the BitConnect Investment Programs.

           139.     Evidently, Defendant ARCARO was so successful as an affiliate marketer and

    organizer that he received a Porsche Carrera 911 S as a reward during a live broadcast of the

    BitConnect Conference in October 2017.

           140.     Among the Promoter Defendants, Defendants JAMES and GRANT have been

    particularly active affiliate promoters, primarily by using videos they posted on YouTube wherein

    they solicited investments for the BitConnect Investment Programs. Shockingly, after the State of

    Texas issued an Emergency Cease and Desist Order against BITCONNECT in early-January 2018,

    Defendant JAMES encouraged the public to use a Virtual Private Network (“VPN”) to simulate

    an IP address outside of Texas and continue using BITCONNECT: “Load you [sic] a VPN, they

    all are good, and keep using BitConnect. Don’t let Texas, don’t let them government shut you

    down . . . they haters [sic], they mad cus [sic] we making money.”

           141.     Rather than exhibit even a semblance of remorse for his involvement propagating

    the BITCONNECT pyramid scheme, Defendant JAMES has opted to deem investors who were

    cheated by Defendants’ fraudulent schemes – some of whom lost their life savings – “crybabies.”



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           142.     Defendant GRANT, upon information and belief, has been hailed as a “godfather”

    of BITCONNECT and has promoted the BitConnect Investment Programs since in or about April

    2017. Additionally, Defendant GRANT has been alleged to have been involved in numerous other

    financial scams. 11

           143.     The Chat Logs reveal that Defendants ARCARO and JAMES were initially affiliate

    promoters working underneath Defendant GRANT’s “down line.” However, in August 2017,

    Defendants ARCARO and JAMES each applied for a senior role with BITCONNECT but were

    denied, while ARCARO was hired as a “National Promoter.”

           144.     Additionally, the Chat Logs reveal that BITCONNECT unilaterally moved affiliate

    promoters amongst different “down lines.”              For example, after ARCARO was hired,

    BITCONNECT moved JAMES out from GRANT’s “down line” to ARCARO’s “down line.”

           145.     Defendants ARCARO, JAMES, and GRANT were fully aware of the fact that they

    were promoting a Ponzi scheme. This fact is plainly seen in the following exchange that took

    place between them on October 5, 2017:

           Arcaro:        what do you guys know/think about this I am [sic] English guy? He
                          wants to be regional but doesn’t really do too much volume. Especially
                          for how long he’s been doing youtube.

           Grant:         he no good at marketing
                          he does drama
                          but he can do better, if motivated

           Arcaro:        the pure number of videos he does, why isn’t he doing more volume?
                          He said he’s done 90k total.

           Grant:         he says crypto market dried up. I tend to agree.

           Arcaro:        what does that mean?


    11 See, e.g., http://www.davinsden.com/avalos/ (research compiled by a podcast team on
    Defendant GRANT’s various schemes).



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           Grant:      more volume can come from outside crypto space

           Arcaro:     I don’t believe it’s dried up
                       it’s just about proper targeting
           Grant:      most beleive [sic] it is
                       crypto is small space

           Arcaro:     most people eat at mcdonalds
                       it’s small but I think there is new blood all the time coming in
                       also, we just need to target better

           Grant:      i am focused on new blood

           Arcaro:     are you hitting those hyips keywords 12 in youtube?
                       ethrade, coinxl and all those
                       should add regal coin to the mix

           Grant:      I am doing great with all i am doing

           Arcaro:     coo
                       I’d make a video targeting just regal coin
                       Start out by saying
                       “don’t invest into regal coin until you watch this video”
                       Blah blah blah
                       I’d do that for each of the hyips
                       And run that ad only against that keyoword [sic]
                       Maybe we can’t do it because we are promoters but
                       we can get our team to

           Grant:      sounds like your area of expertice [sic]

           Arcaro:     I’d say something nice about the program and then
                       say I have something better than xyz program…

           Grant:      bitconnect needs you to do this stuff




    12 “Hyips” are “High-yield investment programs.” A high-yield investment program is a Ponzi
    scheme that offers unsustainably high returns on investment to lure in investors. As typical with
    a Ponzi scheme, new investor funds are then used to return established investors. Investor.gov
    explains that the “hallmark of an HYIP scam is the promise of incredible returns at little or no risk
    to the investor. A HYIP website might promise annual (or even monthly, weekly, or daily!) returns
    of 30 or 40 percent – or more.” BITCONNECT’s Investment Programs fall squarely in this
    definition.



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           146.    Not only were the Promoter Defendants some of BITCONNECT’s most successful

    “affiliate” marketers, but they each received additional compensation in the form of so-called

    “development funds.” Development funds were paid out from BITCONNECT to National

    Promoters who then used and shared the funds with their top Regional Promoters. These funds

    were meant to offset any costs the Promoter Defendants might have relating to their promotion of

    BITCONNECT.

           147.    On October 9, 2017, Defendant JAMES submitted a screenshot showing the

    “Promoter” dashboard for BITCONNECT’s top promoters.               This dashboard explained the

    “development funds” as follows:

                   -----One structure national representative terms and conditions-----

           The development fund assigned to you is the fund given by bitconnect system to
           operate bitconnect network more efficiently in your country. Development
           percentage given to you is calculated based on total volume generated by your own
           structure network and paid weekly.

           For example: If you have been given 15% development fund by bitconnect and your
           network volume for current week is $100,000, you will receive $15000 on
           completion of current week.

           148.    In September 2017, Defendant ARCARO began providing Defendant GRAIG with

    Development Funds to build the “BCC School”– an online training program to “teach” the

    unsuspecting public how to participate in cryptocurrency investment opportunities, including the

    BitConnect Investment Programs. BITCONNECT wanted the existence of development funds to

    remain a secret. For example, on August 25, 2017, ARCARO messaged Grant, stating: “Satish

    was pissed when he saw me talking about the development fund on YouTube. I deleted the video.

    I guess they don’t watch that.” GRANT responded by asking whether SATISH was angry about

    how ARCARO talked about the fund or how ARCARO had been using the funds, to which

    ARCARO stated that the issue was “[n]ot how I talked about it but the fact that I talked about it.




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    I uploaded a video called ‘how to get a dev account’ and 20 min later [he] messaged me. I quickly

    deleted it. I think he can care less what I actually do with the money. As long as they see results,

    we are all adults here.” Similarly, on September 10, 2017, Defendant GRANT published a video

    discussing his use of Development Funds after which ARCARO warned GRANT not to discuss

    the Development Funds in his videos because the “Bitconnect honchos say don’t talk about the

    development fund on video. Big no no in their eyes. You’re supposed to phrase it all as if it’s

    coming from you. Just don’t mention that they are funding.”

           149.    On October 2, 2017, ARCARO informed JAMES and GRANT that “all of the

    national promoters dev fund was cut by 1/3” -- meaning that he would receive 10% of the network

    volume instead of 15%. In early-October 2017, the total investment volume in BITCONNECT

    per week was approximately $7 million, meaning that the development fund disbursed to

    JEPPESEN or ARCARO was approximately $700,000 per week.

           150.    On October 13, 2017, ARCARO asked JAMES and GRANT if they wanted to

    attend the BITCONNECT Conference in Thailand and told them to try and get their audiences to

    attend. In response, Defendant JAMES asked ARCARO “what do you mean by the more people

    we get to the event the more money we will make?” ARCARO responded to JAMES question

    with the following:

              When people get to events and they actually see human flesh that only existed
              on a computer screen, something clicks in your head and it becomes real only
              at that moment.

              People just want to be a part of something bigger than themselves.

              They’re bored and they’re lives generally suck. If they feel like they belong
              somewhere, all the guards come down, that’s when they start investing for
              real.

              No this little 10k, 20k shit but real dough which is usually accessed in 401ks
              iras etc.




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                It looks like the banks and investment houses are close to flipping the switch
                and making it easy for people to get bitcoin. I think it will start happening
                next year.

                When that happens you’re talking trillions of dollars easily accessible in btc.
                Things will really change then.

                If nothing else the events build towards that.

           151.     Defendant ARCARO stated that he planned to have 1,000 BTC by the

    BITCONNECT conference on October 28, 2017.

           152.     By late-October 2017, Defendant JAMES was personally generating $4 million per

    week in new investments. On October 23, 2017, JAMES shared a link to a post sharing a

    screenshot from JAMES’ internal BITCONNECT platform showing that he had $625,199 in

    commissions, a lending profit of $113,541, and access to $154,672 in “development funds.” The

    post was alleging BITCONNECT to be a Ponzi scheme and raising questions as to what the

    “development fund” was. Defendant JAMES criticized the post in the Group Chat by stating

    “people are cry babies [sic].”      In response, GRANT stated: “nobody knows, but they can

    speculate.”

           153.     Also in late-October 2017, Defendant GRANT began spending $7,000 per week on

    marketing with Google and YouTube in addition to the $5,250 he was spending for marketing on

    Facebook.

           154.     By October 30, 2017, Defendant JAMES was responsible for nearly $1 million in

    new investments in BITCONNECT per day. By early-November 2017, the U.S. was converting

    well-over $10 million per week in new investments.




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           155.    On November 13, 2017, Defendant JAMES boasted to the group that he had 128

    BTC in one of his wallets.      On that date, 128 BTC was worth approximately $850,000.

    Additionally, JAMES bragged that he had been earning $10,000 per day.

           156.    Between November 25, 2017 and November 26, 2017, BTC’s market price

    increased approximately $700 dollars. On November 26, 2017, Defendant ARCARO boasted in

    the Group Chat that he “probably make a mil overnight” because he “never sell[s] btc.” For

    ARCARO to have made $1 million overnight from BTC’s appreciation, he would have had to hold

    nearly 1,430 BTC. At that time, 1,430 BTC was worth approximately $12,000,000.

           157.    In the Group Chat, Defendant GRANT frequently voiced his desire to avoid the

    spotlight by not attending large events such as the BITCONNECT Conference. GRANT explained

    that he “like[s] being under the crypto radar, w[h]ile earn[ing] tons of money from regular folk,”

    to which ARCARO responded: “Lol I agree.”

           158.    Defendant ARCARO had numerous websites promoting BITCONNECT. Each of

    these websites were meant to serve as a “funnel” into investing in BITCONNECT or any other

    pyramid scheme for that matter. For example, the home page for “glennarcaro.com” hosted the

    following image:




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             159.   Similarly, Defendant ARCARO’s website, “BitFunnel” hosted the following

    image:




             160.   Defendant ARCARO’s primary “funnel” site appears to have been Futuremoney.io.

    On that website, “lessons” eight, nine, and ten in the course named “Cryptocurrency 101” were

    entitled, respectively, “Buying Your First Bitcoin,” “Creating Your Bitconnect Account,” and

    “Bitcoin to Bitconnect: Transfer and Start Earning!” Unsurprisingly, the “graduates” of “BCC

    School” were directed to open BITCONNECT accounts using Defendant ARCARO’s and his

    team’s referral links.

             161.   In essence, the BCC School and all of the related “Future Money” funnel websites

    were little more than conduits to get “graduates” to open up accounts at BITCONNECT, for which

    ARCARO and his team of affiliates reaped from BITCONNECT the riches of each client referral.




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           C.     The BitConnect Conference
           162.   Defendant PRASETEYA was not only honored as a “Top Promoter” during the

    BitConnect Conference, but he also served as BITCONNECT’s representative in providing

    various rewards to National and Regional Promoters. For example, PRASETEYA took the stage

    to provide $250,000 in cash “rewards” to various BITCONNECT promoters.

           163.   Defendant JEPPESEN was BITCONNECT’s “director” for the United States and

    Europe. JEPPESEN was one of BITCONNECT’s most public figures, having represented the

    organization at various blockchain related events.       For example, on October 19, 2017,

    BITCONNECT used one of its social media accounts to post the following:

           164.   Defendant LABRECHE was the “National Promoter” for Canada. LABRECHE

    solicited hundreds if not thousands of BITCONNECT investors throughout the world. Defendant

    LABRECHE’s success promoting BITCONNECT was also rewarded during the BITCONNECT

    Conference. In fact, LABRECHE’s efforts were so effective that he was recognized as one of the

    “Top BitConnect Promoters” alongside Defendants SATISH, PRASETEYA, ROBERTS,

    HELEN, SANTOSO, DARJI, ARCARO, and JEPPESEN. Additionally, Defendant LABRECHE

    was one of the few BITCONNECT promoters that received the official “Top Promoters Reward”:

    a “Cash Reward of $50,000.”         Furthermore, Defendant LABRECHE even served as

    BITCONNECT’s representative in rewarding Defendant DARJI with a brand new Aston Martin

    Vantage during the conference.

           165.   Like   Defendant   DARJI’s,    Defendant     SANTOSO’s        speech    during   the

    BITCONNECT conference was also animated and a clear exhibition of his affinity for

    BITCONNECT’s fraudulent operation. Defendant SANTOSO’s speech began as follows: “I’m

    SANTOSO, I’m from Indonesia. I am BitConnect! I am BitConnect! I am BitConnect.”

    Defendant SANTOSO’s contribution to BITCONNECT was rewarded with a Mercedes GTS



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    during the conference. Similarly, Defendants HELEN and ROBERTS were rewarded with a

    Lamborghini Huracan.

           166.   One of the final “awards” provided during the conference was the “Best BitConnect

    Supporters Rewards” -- a $50,000 Cash Reward -- of which Defendants JEPPESEN and SATISH

    were each recipients:




           D.     Defendants Crypto Clover, Maasen, Hildreth, CryptoNick, and Fox
           167.   Defendant CRYPTO CLOVER was an influential affiliate marketer on one of

    Defendant ARCARO’s referral teams. CRYPTO CLOVER posted dozens of videos on YouTube

    promoting the BitConnect Investment Programs and often traveled to Indonesia and Vietnam to

    personally spend time with Defendants SATISH, DARJI, and the Developer Defendants.

           168.   Defendant HILDRETH marketed the BitConnect Investment Programs through his

    website (ryanhildreth.com), which was touted as teaching “how to make an extra $1,000 - $5,000+

    per month” and targeted “ENTREPRENEURS WHO WANT THE FREEDOM TO MAKE




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    MONEY FROM ANYWHERE IN THE WORLD, TRAVEL, AND CHOOSE THE LIFESTYLE

    [THEY] WANT TO LIVE!” (emphasis in original).

           169.   Defendants HILDRETH and CRYPTONICK frequently worked together in

    marketing BITCONNECT. For example, they operated “Bitcoinmastery.teachable.com” which

    offered the following course for $497:




           170.   The “course” was described as follows:

              This program, featuring Cryptocurrency Business Owners Ryan Hildreth and
              Crypto Nick, will guide you to becoming highly profitable in the
              Cryptocurrency space. Ryan and Nick believe that when building a 6 figure
              income through Bitcoin and cryptocurrencies, you should have multiple
              flows of coin. They will be guiding you to the mastery of trading, mining,
              lending, and building a brand around crypto.

           171.   Defendant CRYPTONICK was an extremely influential affiliate marketer who

    claimed to have become a millionaire as a result of his cryptocurrency investments. Defendant

    CRYPTONICK’s participation and culpability in furthering the BITCONNECT pyramid/Ponzi

    scheme is evidenced by the fact that almost immediately after BITCONNECT closed its lending



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    and exchange platforms, he deleted all of his YouTube videos promoting the BitConnect

    Investment Programs and shut down all of his popular social media channels. When questioned

    as to CRYPTONICK’s whereabouts, Defendant CRYPTO CLOVER recently stated the following:

                    Crypto Nick? Nick’s probably in hiding . . . The thing about Crypto Nick
                    was, he had a, um, he had a bigger following than [JAMES]. So he was one
                    of the biggest YouTubers in the space . . . once he started talking about
                    BitConnect, like he started doing really well, but he made a ton of money on
                    referrals. A ton of money. People would sign up and he really didn’t have
                    that much money invested in BitConnect. So he was, um, in a lot of ways,
                    he was just, he was basically just kind-of doing it for the referrals. And he
                    made a lot of money in referrals, way, way more than I did. And um, so he
                    just kind-of cashed out and took his channel down and um, now he’s in
                    hiding.

               172.     Defendant MAASEN also published dozens of YouTube videos promoting the

    BitConnect Investment Programs. Further, Defendant MAASEN appears to have primarily

    focused his efforts on raising investments from high school and college-age investors.

               173.     Likewise, Defendant FOX published hundreds of YouTube videos promoting the

    BitConnect Investment Programs and successfully solicited thousands of investors from those

    efforts.

    V.         The BitConnect Investments Were Ponzi Schemes and Securities

               A.       The BitConnect Defendants Operated a Ponzi Scheme
               174.     Contrary to the allegations of fantastic investment returns through the power of

    BITCONNECT’s proprietary, secret trading Volatility Software and the communal power of the

    BitConnect Staking Program, the BITCONNECT Defendants were actually operating a Ponzi

    scheme.

               175.     Any investment returns provided to BITCONNECT investors were not legitimately

    generated; rather, BITCONNECT simply used new BITCONNECT investors’ money to pay the

    promised returns on outstanding BITCONNECT investors’ investments.




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           176.     In addition, BITCONNECT used new BITCONNECT investors’ funds to pay the

    BITCONNECT Directors and affiliates -- including, but not limited to, Defendants JEPPESEN,

    ARCARO, JAMES, HILDRETH, GRANT, CRYPTO CLOVER, CRYPTONICK, MAASEN,

    and FOX -- salary and commissions for their role in bringing additional victims into the scheme.

           177.     The reality is, BITCONNECT was not offering a revolutionary technology, but was

    instead selling a new take on a century-old scam.               Specifically, BITCONNECT used

    cryptocurrency to coat its Ponzi/pyramid scheme with the thinnest veneer of legitimacy. Despite

    such efforts, it is abundantly clear that the BITCONNECT Defendants were conducting and/or

    supporting a Ponzi/pyramid scheme.         Indeed, the BitConnect Investment Programs exhibit

    numerous characteristics of such schemes, including:

                (a) providing daily interest on an investment that had no income other than
                    new investor money;

                (b) artificially increasing the value of its cryptocurrency by having new
                    investors in the Ponzi scheme purchase BCC to invest;

                (c) obfuscating the identities of BitConnect’s owners by using an offshore
                    company created through a company called Companies Made Simple;
                    and

                (d) expanding the amount of people in this Ponzi scheme by implementing a
                    Pyramid scheme that paid a commission 7-levels deep for recruits.

           B.       BCCs and the BitConnect Investment Programs were Investment Contract
                    Securities

           178.     This Action alleges claims under Sections 12(a)(1) and 15(a) of the Securities Act

    [15 U.S.C. §§ 77l(a)(1) and 77o(a)], and are based solely on allegations of strict liability.

           179.     Neither the BCCs nor the BitConnect Investment Programs were registered with

    the Securities and Exchange Commission (“SEC”); and thus, the BitConnect Defendants engaged

    in the offer and sale of unregistered securities.




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           180.    Under the Securities Act, a “security” is defined as including any “note,”

    “investment contract,” or “instrument commonly known as a ‘security.’” See 15 U.S.C. §§ 77b(a)(1).

    Here, the BCCs, the BitConnect Lending Program, and the BitConnect Staking Program each

    constitute an investment contract. In SEC v. W.J. Howey Co., the United States Supreme Court

    established a three-part test to determine whether an offering, contract, transaction, or scheme

    constitutes an investment contract. 13 Under the test articulated in Howey, a contract, transaction,

    or scheme is an “investment contract” if it involves: (i) the investment of money; (ii) in a common

    enterprise; (iii) with the expectation of profits to come solely from the efforts of others.

           181.    When determining whether a security has been offered and sold, the focus must be

    on the economic realities underlying the transaction. Here, the economic realities are that Plaintiffs

    and the Class invested funds to trade BCCs, “lend” BCCs and/or “stake” BCCs -- each of which

    they expected would lead to “financial freedom” and “guaranteed” lucrative returns. Investors in

    the BitConnect Investment Programs used BTC or fiat currency to purchase the BCC required to

    make their investments. Accordingly, Plaintiffs’ and the Class’ investment of BTC or fiat currency

    constitutes an investment of money for the purposes of determining whether an investment

    involved a security.

           182.    Plaintiffs and the Class were investing in a common enterprise with the

    BITCONNECT Defendants, as the BTC and fiat currency were pooled under the control of

    Defendant BITCONNECT, and the success of the BitConnect platform -- and thus potential profits

    stemming from the future valuation of the BCC -- was entirely reliant on the BITCONNECT



    13      See SEC v. W.J. Howey, Co., 328 U.S. 293 (1946); see also Intern. Bhd. of Teamsters v.
    Daniel, 421 U.S. 837, 852 (1979) (noting that the Howey test is not the only test for determining a
    security, but has been held to embody “all the attributes that run through all of the Court’s decisions
    defining a security”).



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    Defendants’ actions, primarily BITCONNECT’s implementation of its proprietary, secret trading

    system, which BITCONNECT claimed would produce returns sufficient to cover interest

    payments to the BCC holders. With respect to the Promoter Defendants, their anticipated success

    at soliciting additional purchases of BCC or luring additional victims to participate in the

    BitConnect Investment Programs was vital to increasing the value of BCC.

           183.    As relates to the BitConnect Lending Program, investors were promised substantial

    fixed returns and a complete return of principal at a fixed time in the future. 14 BITCONNECT

    provided a Daily Interest Chart on its websites that showed the daily interest that it purported to

    have paid to its investors in the three months prior to that date. Although the daily interest rate for

    BITCONNECT investments varied on a daily basis, on average BITCONNECT guaranteed a

    return of 1% per day. 15




    14      As relates to the BitConnect Staking Program, BITCONNECT failed to ever explain where
    the funds would come from to provide up to “120%” returns per year; thus, it can only be presumed
    that such funds were meant to also result from the BITCONNECT Defendants’ actions, through
    the trading bots, or otherwise.
    15      Theoretically, if investors chose to reinvest the interest earned, this daily interest would
    potentially add up to significant returns as a result of daily compounding. For example, a one-
    hundred-dollar investment compounded at 1% daily interest would be worth $134.77 after one
    month, $599.58 after six months, and $3,778.02 by the end of the year – representing an outlandish
    3,678.02% net profit.



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            184.    In short, it is indisputable that the BITCONNECT Defendants were selling

    investment contracts and that any success from BITCONNECT’s implementation of its Volatility

    Software – enabling payment of the interests and bonuses that were to be distributed – as well as

    any future potential increases to the value of the BCCs were entirely dependent on the

    BITCONNECT Defendants’ actions.

            C.      The BitConnect Defendants Were “Sellers” Under the Federal Securities Laws
            185.    Liability for selling unregistered securities extends to “the person who successfully

    solicits the purchase [of an unregistered security], motivated at least in part by a desire to serve his

    own financial interests or those of the securities owner.” Pinter v. Dahl, 486 U.S. 622, 643 (1988).

            186.    As noted above, Plaintiffs and the Class were actively involved in researching

    BITCONNECT and the BitConnect Investment Programs prior to purchasing their BCCs or

    investing with BITCONNECT. Such research included reviewing virtual currency online forums,

    reading BITCONNECT’s publications and viewing its promotional videos. Accordingly, each of

    the solicitations outlined below were successful in soliciting Plaintiffs and the Class to invest with

    BITCONNECT.




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           187.    Each of the BITCONNECT Defendants are considered “sellers,” as each

    successfully solicited investments in BCCs and/or the BitConnect Investment Programs for their

    own or BITCONNECT’s financial benefit.

           188.    It is indisputable that BITCONNECT participated in the offer and sale of BCCs and

    the BitConnect Investment Program’s investment contracts. More specifically, BITCONNECT -

    - as the direct issuer of BCCs and the creator, and host, of the BitConnect Investment Programs --

    directly offered and sold such investment contract securities. Similarly, Defendants JEPPESEN

    and ARCARO -- as directors of BITCONNECT -- controlled its actions and are thus equally

    deemed “sellers.”

           189.    With respect to the Developer Defendants, they created the BITCONNECT

    platform enabling the unlawful scheme to begin.

           190.    With respect to the Promoter Defendants, each actively solicited investments in

    BCCs and the BitConnect Investment Programs -- largely through YouTube -- for the sole purpose

    of receiving compensation. Such activity falls squarely under the definition of “seller.”

           191.    Indeed, Plaintiff MARRYSHOW was personally and successfully solicited to

    invest in the BitConnect Investment Programs by Defendant ARCARO because she completed the

    “training program” on Defendant ARCARO’s website (futuremoney.io), after which she invested

    in BITCONNECT.

           192.    Similarly, Plaintiff YOO was personally and successfully solicited to invest in the

    BitConnect Investment Programs by Defendants ARCARO and MAASEN after viewing their

    YouTube promotional videos and signing up through their affiliate programs.

           193.    Moreover, Defendant GRANT is believed to have posted approximately 2,500

    videos of varying length on YouTube promoting the BitConnect Investment Programs and the




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    BitConnect Investments. His 100,000+ YouTube subscribers and others members of the general

    public registered nearly 33,000,000 independent views of his videos. Additionally, he is believed

    to have generated for himself approximately $5,000,000.00 of income as a direct result of

    sponsoring over 12,000 investors -- who provided $52,000,000.00 of investment capital to

    BITCONNECT -- the majority of whom were recruited for “sponsorship” through his videos on

    YouTube.

           194.    Defendant JAMES is believed to have had no fewer than 136,000 YouTube

    subscribers registering 8,000,000 views of one or more of his 600+ BITCONNECT promotional

    videos on one of his many YouTube channels, and he is believed to have earned for himself around

    $2,000,000.00 as a result of the approximately 3,000 investors (and nearly $12,000,000.00 of

    investment capital to BITCONNECT) he sponsored -- the majority of whom were recruited for

    “sponsorship” through his videos on YouTube.

           195.    Defendant CRYPTONICK is believed to have had nearly 200,000 YouTube

    subscribers to his 400+ BITCONNECT promotional videos on YouTube, generating over

    $10,000,000.00 of investment capital from nearly 3,000 investors for BITCONNECT -- the

    majority of whom were recruited for “sponsorship” through his videos on YouTube. Such

    recruitment activities are believed to have resulted in CRYPTONICK earning approximately

    $900,000.00.

           196.    At the height of the BITCONNECT frenzy, Defendant HILDRETH is believed to

    have had at least 106,000 YouTube subscribers and nearly 3,500,000 views in total across the 250+

    BITCONNECT videos he posted on YouTube -- efforts that produced over $20,000,000.00 of

    investment capital to BITCONNECT from over 5,000 investors.




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           197.    Defendant MAASEN is believed to have had 20,000+ YouTube subscribers, and

    over 850,000 views, of the nearly 100 BITCONNECT videos on YouTube.

           198.    Defendant FOX is believed to have published 350+ BITCONNECT promotional

    videos on YouTube, where he garnered approximately 100,000 subscribers to his YouTube

    channels and approximately 4,000,000 independent views of his videos. His recruitment activities

    are believed to have generated over $5,200,000.00 of investment capital to BITCONNECT from

    nearly 1,500 investors, which resulted in approximately $400,000.00 in earnings for FOX.

           199.    Even Defendant ARCARO posted more than 150 videos of varying length on

    YouTube promoting the BitConnect Investment Programs and the BitConnect Investments.

           200.    Based on the foregoing, each of the BITCONNECT Defendants were “sellers” of

    unregistered securities (in the form of BCCs and/or contracts resulting from participation in the

    BitConnect Investment Programs) under the federal securities laws.

           D.      BitConnect Led Class Members to Incur Substantial Losses
           201.    While the SEC has yet to involve itself – at least publicly – in the present matter,

    state regulators have displayed no such hesitancy. By late-2017, it was apparent to BITCONNECT

    that the Ponzi scheme it had constructed was on the verge of toppling. Not content with riding off

    into the sunset with its ill-gotten gains, BITCONNECT decided to take another bite at the apple

    and orchestrated a second BITCONNECT ICO to take place in January 2018 (the “BitConnectx

    ICO”). The Bitconnectx.co domain was registered in late-December 2017, and a crowdsale

    commenced less than two weeks later. The company was seeking to sell 11.76 million of a new

    virtual currency (“BCCX”), which would earn BITCONNECT $588 million. Additionally,

    BITCONNECT planned to retain another $145 million in BCCXs for itself, bringing its total

    expected income from the BitConnectx ICO to $733 million.




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           202.    On January 4, 2018, the Texas State Securities Board issued an Emergency Cease

    And Desist Order against BITCONNECT in which the Securities Commissioner of the State of

    Texas presented his office’s conclusion that, inter alia:

              (a) the BitConnect Investments are securities;

              (b) BITCONNECT had violated numerous securities regulations by offering
                  the BitConnect Investments for sale in Texas;

              (c) BITCONNECT had engaged in fraud and made materially misleading
                  statements about the BitConnect Investments that were likely to deceive
                  the public; and

              (d) BITCONNECT’s conduct, acts, and practices threaten an immediate and
                  irreparable public harm.

           203.    Soon thereafter, on January 9, 2018, the Secretary of State of North Carolina -

    Securities Division issued Temporary Cease and Desist Order against BITCONNECT to prevent

    BITCONNECT from further violating state securities laws and restrain it from conducting the

    second ICO, because the State had concluded that the BITCONNECT’s investment offerings were

    unregistered securities being offered to the residents of the State and that those investments posed

    an immediate and irreparable harm to the residents of North Carolina.

           204.    On January 13, 2018, BITCONNECT’s website went down. Although the website

    was back up just a few days later, on January 16, 2018, BITCONNECT posted an anonymous

    announcement declaring that BITCONNECT had closed the trading platform:

              This is to inform all community members that we are closing the BitConnect
              lending and exchange platform. We are closing the lending operation
              immediately with the release of all outstanding loans. With release of your
              entire active loan in the lending wallet we are transferring all your lending
              wallet balance to your BitConnect wallet balance at 363.62 USD. This rate
              has been calculated based on last 15 days averages of the closing price
              registered on coinmarketcap.com. You are free to withdraw your BitConnect
              coin currently in QT wallets that was used for staking as well. We are also
              closing BCC exchange platform in 5 days. In short, we are closing lending
              service and exchange service while BitConnect.co website will operate for
              wallet service, news and educational purposes.



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              The reason for halt of lending and exchange platform has many reasons as
              follow:

              The continuous bad press has made community members uneasy and created
              a lack of confidence in the platform.

              We have received two Cease and Desist letters, one from the Texas State
              Securities Board, and one from the North Carolina Secretary of State
              Securities Division. These actions have become a hindrance for the legal
              continuation of the platform.

              Outside forces have performed DDoS attacks on platform several times and
              have made it clear that these will continue. These interruptions in service have
              made the platform unstable and have created more panic inside the
              community.

              Closing the lending and exchange platform doesn’t mean that we will stop
              supporting BitConnect coin. Closing the lending platform will allow
              Bitconnect to be listed on outside exchanges giving more options for trading.

              We will keep working to make BitConnect coin available to merchant
              websites providing them API access to accept BitConnect Coins on their
              platforms.

              BitConnect X ICO is still functional and we are building an exchange
              platform on the BitConnect X website. With BitConnect X operating as an
              exchange platform, BitConnect Coin (BCC) will be listed there.

              This is not the end of this community, but we are closing some of the services
              on the website platform and we will continue offering other cyptocurrency
              services in the future.

           205.    Evidently, the lending program was shut down entirely; and BITCONNECT no

    longer honored its promise to pay interest thereon nor return the principal investments made into

    the lending program.      Moreover, BITCONNECT determined to move forward with the

    BitConnectx ICO – which is still ongoing as of February 27, 2018.

           206.    Within moments of BITCONNECT shutting down its trading and lending

    platforms, the price of BCC plummeted nearly ninety percent (90%) in value; and the token is

    believed to be effectively useless now.




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           207.    As a result of the BITCONNECT Defendants’ fraudulent and misleading activities

    -- as well as their violation of multiple securities laws -- Plaintiffs and the Class have suffered

    damages believed to be greater than $2 billion.

    VI.    Necessity for Judicial Intervention

           208.    In 2013, the SEC issued an investor alert on “Ponzi Schemes Using Virtual

    Currencies,” warning investors to be wary of investment opportunities offering “high investment

    returns with little or no risk” and explaining that “Ponzi schemes typically involve investments

    that have not been registered with the SEC or with state securities regulators.” Here, the

    BITCONNECT Defendants have conducted and propagated precisely such a scheme.

           209.    On July 25, 2017, the SEC issued a report on “the DAO,” which offered tokens for

    sale online, in which the SEC advised those using “distributed ledger or blockchain-enabled means

    for capital raising to take appropriate steps to ensure compliance” with the federal securities laws,

    and stated that “[a]ll securities offered and sold in the United States must be registered with the

    Commission . . .” or qualify for an exemption from registration. On the same day, the SEC issued

    an investor bulletin urging caution when investing in ICOs and urging investors to be mindful that

    promoters and initial sellers that lead buyers of tokens to expect a return on their investment or

    participate in shared returns provided by the project may be offering a security for sale.

           210.    Virtual currencies are a relatively new phenomenon, and numerous individuals and

    entities -- by engaging in unlawful conduct with near impunity -- are taking advantage of the time

    it takes for regulatory agencies to address new investment developments, as the BITCONNECT

    Defendants have here by raising hundreds of millions of dollars if not billions of dollars with

    promises of profits to be made from trading BCCs and/or the BitConnect Investment Programs.




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            211.    It is clear from recent events that the rampant disregard of state and federal

    securities laws and consequently, abuse of investors, taking place in connection with

    BITCONNECT’s unlawful and fraudulent conduct has been noted by state regulatory agencies.

            212.    While BCCs and the BitConnect Investment Programs plainly constitute

    investment contract securities, at no time was a registration statement ever filed or in effect with

    the SEC for the securities being offered. As such, the unlawful, unregistered offering of securities

    by the BITCONNECT Defendants to Plaintiffs and the Class violated Sections 5, 12(a)(1) and

    15(a) of the Securities Act; and the private right of action provided by Section 12(a)(1) of the

    Securities Act, created for just this type of situation, provides strict liability for the BITCONNECT

    Defendants’ sale of such unregistered securities.

            213.    Additionally, due to the fraudulent and deceitful conduct involved and necessary to

    propagate the BitConnect Investment Programs – particularly as relates to the Referral/Affiliate

    Program -- the BITCONNECT Defendants are liable for violating Florida’s Deceptive and Unfair

    Trade Practices Act, breach of contract (with respect to Defendant BITCONNECT), unjust

    enrichment, fraudulent inducement, fraudulent misrepresentation, negligent misrepresentation,

    conversion, and civil conspiracy at the expense of unsuspecting public investors.

            214.    Plaintiffs have duly performed all of their duties and obligations, and any conditions

    precedent to Plaintiffs bringing this action have occurred, have been performed, or else have been

    excused or waived.

            215.    To enforce their rights and those of the Class, Plaintiffs have retained undersigned

    counsel and are obligated to pay counsel a reasonable fee for its services, for which Defendants

    are liable as a result of their bad faith and otherwise.




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              COUNT I - VIOLATION OF SECTION 12(a) OF THE SECURITIES ACT
                            [AGAINST THE BITCONNECT DEFENDANTS]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              216.    Section 12(a)(1) grants Plaintiffs a private right of action against any person who

    offers or sells a security in violation of Section 5, and states that such person,

                 Shall be liable . . . to the person purchasing such security from him, who may
                 sue either at law or in equity in any court of competent jurisdiction, to recover
                 the consideration for such security with interest thereon, less the amount of
                 any income received thereon, upon the tender of such security, or for damages
                 if he no longer owns the security.

              217.    From January 2017 through January 2018, in connection with the BitConnect

    Investment Programs and offer and sale of BCCs, Defendants unlawfully made use of means or

    instruments of transportation or communication in interstate commerce or of the mails for the

    purposes of offering, selling, or delivering unregistered securities in direct violation of the

    Securities Act.

              218.    The offer and sale of BCCs and solicitation of investments in the BitConnect

    Investment Programs constituted the offer and sale of unregistered securities under controlling

    federal law. BCCs and the BitConnect Investment Programs exhibit the following particular

    hallmarks of a security under the Howey test: (a) to receive any BCCs (and invest in the BitConnect

    Investment Programs), an investment of money, in the form of BTC and/or other currencies was

    required; (b) the investment of money was made into the common enterprise that is Defendant

    BITCONNECT and its ability to provide “guaranteed” returns using its trading algorithm or

    otherwise; and (c) the success of the investment opportunities and any potential returns thereon

    were entirely reliant on Defendants’ ability to continuously provide such “guaranteed” returns to

    investors.




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              219.   Each of the individual Developer Defendants and Promoter Defendants constitute

    “seller[s]” under the Securities Act and are thus equally liable for selling unregistered securities in

    connection with BITCONNECT.

              220.   The Developer Defendants created and maintained BITCONNECT and profited

    handsomely from investments in the BitConnect Investment Programs.

              221.   Similarly, the individual Promoter Defendants personally profited by soliciting

    investors to use their “referral” links to participate in the BitConnect Investment Programs.

              222.   As such, the BITCONNECT Defendants have participated in the offer and sale of

    unregistered securities in violation of the Securities Act, and are liable to Plaintiffs and the Class

    for rescission and/or compensatory damages.

              COUNT II - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                                 [AGAINST DEFENDANT NALIN]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              223.   Due to his ownership in and/or control over BITCONNECT’s organization,

    Defendant NALIN acted as controlling person of BITCONNECT within the meaning of Section

    15(a) of the Securities Act as alleged herein.

              224.   By virtue of his positions as a behind the scenes owner/developer and/or based on

    his awareness of Defendant BITCONNECT’s operations, Defendant NALIN had the power to

    influence and control and did influence and control, directly or indirectly, the decision making

    relating to the BitConnect Investment Programs, including the decision to engage in the sale of

    unregistered securities in furtherance thereof.

              225.   By virtue of the foregoing, Defendant NALIN is liable to Plaintiffs and the Class

    as a control person of Defendant BITCONNECT under Section 15(a) of the Securities Act.




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              COUNT III - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                                [AGAINST DEFENDANT GORASIYA]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              226.   Due to his ownership in and/or control over BITCONNECT’s organization,

    Defendant GORASIYA acted as controlling person of BITCONNECT within the meaning of

    Section 15(a) of the Securities Act as alleged herein.

              227.   By virtue of his positions as a behind the scenes owner/developer and/or based on

    his awareness of Defendant BITCONNECT’s operations, Defendant GORASIYA had the power

    to influence and control and did influence and control, directly or indirectly, the decision making

    relating to the BitConnect Investment Programs, including the decision to engage in the sale of

    unregistered securities in furtherance thereof.

              228.   By virtue of the foregoing, Defendant GORASIYA is liable to Plaintiffs and the

    Class as a control person of Defendant BITCONNECT under Section 15(a) of the Securities Act.

              COUNT IV - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                              [AGAINST DEFENDANT CHAUDHARI]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              229.   Due to his ownership in and/or control over BITCONNECT’s organization,

    Defendant CHAUDHARI acted as controlling person of BITCONNECT within the meaning of

    Section 15(a) of the Securities Act as alleged herein.

              230.   By virtue of his positions as a behind the scenes owner/developer and/or based on

    his awareness of Defendant BITCONNECT’s operations, Defendant CHAUDHARI had the power

    to influence and control and did influence and control, directly or indirectly, the decision making




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    relating to the BitConnect Investment Programs, including the decision to engage in the sale of

    unregistered securities in furtherance thereof.

              231.   By virtue of the foregoing, Defendant CHAUDHARI is liable to Plaintiffs and the

    Class as a control person of Defendant BITCONNECT under Section 15(a) of the Securities Act.

              COUNT V - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                               [AGAINST DEFENDANT LATHIYA]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              232.   Due to his ownership in and/or control over BITCONNECT’s organization,

    Defendant LATHIYA acted as controlling person of BITCONNECT within the meaning of

    Section 15(a) of the Securities Act as alleged herein.

              233.   By virtue of his positions as a behind the scenes owner/developer and/or based on

    his awareness of Defendant BITCONNECT’s operations, Defendant LATHIYA had the power to

    influence and control and did influence and control, directly or indirectly, the decision making

    relating to the BitConnect Investment Programs, including the decision to engage in the sale of

    unregistered securities in furtherance thereof.

              234.   By virtue of the foregoing, Defendant LATHIYA is liable to Plaintiffs and the Class

    as a control person of Defendant BITCONNECT under Section 15(a) of the Securities Act.

              COUNT VI - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                                [AGAINST DEFENDANT MAVANI]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              235.   Due to his ownership in and/or control over BITCONNECT’s organization,

    Defendant MAVANI acted as controlling person of BITCONNECT within the meaning of Section

    15(a) of the Securities Act as alleged herein.



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              236.   By virtue of his positions as a behind the scenes owner/developer and/or based on

    his awareness of Defendant BITCONNECT’s operations, Defendant MAVANI had the power to

    influence and control and did influence and control, directly or indirectly, the decision making

    relating to the BitConnect Investment Programs, including the decision to engage in the sale of

    unregistered securities in furtherance thereof.

              237.   By virtue of the foregoing, Defendant MAVANI is liable to Plaintiffs and the Class

    as a control person of Defendant BITCONNECT under Section 15(a) of the Securities Act.

              COUNT VII - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                                [AGAINST DEFENDANT PUROHIT]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              238.   Due to his ownership in and/or control over BITCONNECT’s organization,

    Defendant PUROHIT acted as controlling person of BITCONNECT within the meaning of Section

    15(a) of the Securities Act as alleged herein.

              239.   By virtue of his positions as a behind the scenes owner/developer and/or based on

    his awareness of Defendant BITCONNECT’s operations, Defendant PUROHIT had the power to

    influence and control and did influence and control, directly or indirectly, the decision making

    relating to the BitConnect Investment Programs, including the decision to engage in the sale of

    unregistered securities in furtherance thereof.

              240.   By virtue of the foregoing, Defendant PUROHIT is liable to Plaintiffs and the Class

    as a control person of Defendant BITCONNECT under Section 15(a) of the Securities Act.




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          COUNT VIII - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                             [AGAINST DEFENDANT SAXENA]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              241.   Due to his ownership in and/or control over BITCONNECT’s organization,

    Defendant SAXENA acted as controlling person of BITCONNECT within the meaning of Section

    15(a) of the Securities Act as alleged herein.

              242.   By virtue of his positions as a behind the scenes owner/developer and/or based on

    his awareness of Defendant BITCONNECT’s operations, Defendant SAXENA had the power to

    influence and control and did influence and control, directly or indirectly, the decision making

    relating to the BitConnect Investment Programs, including the decision to engage in the sale of

    unregistered securities in furtherance thereof.

              243.   By virtue of the foregoing, Defendant SAXENA is liable to Plaintiffs and the Class

    as a control person of Defendant BITCONNECT under Section 15(a) of the Securities Act.

              COUNT IX - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                              [AGAINST THE NAIKS DEFENDANTS]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              244.   Due to their ownership in and/or control over BITCONNECT’s organization, the

    NAIKS acted as controlling persons of BITCONNECT within the meaning of Section 15(a) of the

    Securities Act as alleged herein.

              245.   By virtue of their positions as behind the scenes owners/developers and/or based

    on their awareness of Defendant BITCONNECT’s operations, the NAIKS Defendants had the

    power to influence and control and did influence and control, directly or indirectly, the decision




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    making relating to the BitConnect Investment Programs, including the decision to engage in the

    sale of unregistered securities in furtherance thereof.

              246.   By virtue of the foregoing, the NAIKS are liable to Plaintiffs and the Class as

    control persons of Defendant BITCONNECT under Section 15(a) of the Securities Act.

              COUNT X - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                               [AGAINST DEFENDANT SATISH]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              247.   Due to his ownership in and/or control over Defendant BITCONNECT, Defendant

    SATISH acted as controlling person of BITCONNECT within the meaning of Section 15(a) of the

    Securities Act as alleged herein.

              248.   By virtue of his positions as an affiliate manager and/or director and participation

    in and/or based on his awareness of Defendant BITCONNECT’s operations, Defendant SATISH

    had the power to influence and control and did influence and control, directly or indirectly, the

    decision making relating to the BitConnect Investment Programs, including the decision to engage

    in the sale of unregistered securities in furtherance thereof.

              249.   By virtue of the foregoing, Defendant SATISH is liable to Plaintiffs and the Class

    as a control person of Defendant BITCONNECT’s under Section 15(a) of the Securities Act.

              COUNT XI - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                                [AGAINST DEFENDANT DARJI]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              250.   Due to his ownership in and/or control over Defendant BITCONNECT, Defendant

    DARJI acted as controlling person of BITCONNECT within the meaning of Section 15(a) of the

    Securities Act as alleged herein.



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              251.   By virtue of his positions as an affiliate manager and/or director and participation

    in and/or based on his awareness of Defendant BITCONNECT’s operations, Defendant DARJI

    had the power to influence and control and did influence and control, directly or indirectly, the

    decision making relating to the BitConnect Investment Programs, including the decision to engage

    in the sale of unregistered securities in furtherance thereof.

              252.   By virtue of the foregoing, Defendant DARJI is liable to Plaintiffs and the Class as

    a control person of Defendant BITCONNECT’s under Section 15(a) of the Securities Act.

              COUNT XII - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                                [AGAINST DEFENDANT ARCARO]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              253.   Due to his ownership in and/or control over, inter alia, Defendants JAMES,

    GRANT, HILDRETH, MAASEN and/or FOX, Defendant ARCARO acted as controlling person

    of each top-level promoter within the meaning of Section 15(a) of the Securities Act as alleged

    herein.

              254.   By virtue of his positions as an affiliate manager and/or director and participation

    in and/or awareness of Defendant BITCONNECT INTERNATIONAL PLC’s operations,

    Defendant ARCARO had the power to influence and control and did influence and control, directly

    or indirectly, the decision making relating to the BitConnect Investment Programs, including the

    decision to engage in the sale of unregistered securities in furtherance thereof.

              255.   By virtue of the foregoing, Defendant ARCARO is liable to Plaintiffs and the Class

    as a control person of Defendant BITCONNECT INTERNATIONAL PLC under Section 15(a) of

    the Securities Act.




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          COUNT XIII - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                            [AGAINST DEFENDANT JEPPESEN]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              256.   Defendant JEPPESEN is subject to liability by virtue of his top-level executive

    position with BITCONNECT and his influence over the enterprise, which provided him the power

    to control or influence BITCONNECT’s actions.            For example, Defendant JEPPESEN is

    reportedly a Director of BITCONNECT -- serving as the Director of Development for

    BITCONNECT’s operations in the United States and Europe -- and is responsible for overseeing

    and contributing to development of the websites used by BITCONNECT to fraudulently offer and

    sell its BitConnect Investment Programs and BCCs to investors, including its operations vis-à-vis

    Plaintiffs and the Class Members.

              257.   As a top-level executive and controlling person of BITCONNECT, Defendant

    JEPPESEN knew of, or recklessly disregarded, the alleged misrepresentations made by

    BITCONNECT on the BitConnect Websites in connection with the sale of the BitConnect

    Investment Programs and the BCCs.

              258.   Defendant JEPPESEN had the power to influence and control and did influence

    and control, directly or indirectly, the decision making relating to the BitConnect Investment

    Programs, including the decision to engage in the sale of unregistered securities in furtherance

    thereof.

              259.   Defendant JEPPESEN is a culpable participant in the fraudulent scheme described

    herein and caused BITCONNECT to engage in the acts and omissions described herein.

              260.   Accordingly, Defendant JEPPESEN is liable to Plaintiffs and the Class as a

    “controlling person” of BITCONNECT within the meaning of Section 15(a) of the Securities Act.




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                               COUNT XIV - BREACH OF CONTRACT
                     [AGAINST DEFENDANT BITCONNECT, THE DEVELOPER DEFENDANTS,
                               DEFENDANT SATISH, AND DEFENDANT DARJI]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              261.    The terms of the BitConnect Investment Programs constitute a contract between:

    (1) Plaintiffs and the Class Members, and (2) BITCONNECT.

              262.    The contract was entered into by and between BITCONNECT -- which was an alter

    ego for the Developer Defendants, Defendant SATISH, and Defendant DARJI -- and each Class

    Member between November 15, 2016 and January 17, 2018.

              263.    The terms of the BitConnect Investment Programs called for an investment of fiat

    currency or cryptocurrency by Plaintiffs and the Class Members.

              264.    The funds paid by Plaintiffs and the Class Members pursuant to the BitConnect

    Investment Programs were pooled by BITCONNECT in an effort by BITCONNECT to secure a

    profit for itself and the investors. As a result, the investors, including Plaintiffs and the Class,

    shared in the risks and benefits of the investment.

              265.    Plaintiffs and the Class Members relied on, and are dependent upon, the expertise

    and efforts of BITCONNECT for their investment returns.

              266.    The terms of the BitConnect Investment Programs constitute an investment contract

    and are therefore subject to federal and state securities laws, including the registration

    requirements promulgated thereunder.

              267.    BITCONNECT breached its contracts with Plaintiffs and the Class by failing to

    provide the “guaranteed” returns, daily interest, bonus interests, and return the initial investments

    pursuant to the terms of the BitConnect Lending Program. Rather than adhere to the express,




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    unequivocal terms of the contracts, BITCONNECT converted Plaintiffs’ and the Class’

    investments into near worthless BCCs and shut down its operations.

              268.   Moreover, no registration statement was filed or in effect with any federal or state

    regulatory body, and no exemption from registration exists with respect to the BitConnect

    Investment Programs.

              269.   By virtue of the foregoing, BITCONNECT is liable to Plaintiffs and the Class for

    damages resulting from BITCONNECT’s breaches of contract.

              270.   To the extent that Plaintiffs have received from BITCONNECT any benefits

    through the contract -- though none are known to them at this time -- Plaintiffs hereby offers to

    restore to BITCONNECT those benefits, once they are identified and can be quantified.

                                 COUNT XV - UNJUST ENRICHMENT
                                [AGAINST THE BITCONNECT DEFENDANTS]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              271.   The BITCONNECT Defendants have reaped the benefits of operating and/or

    personally benefiting from inducing Plaintiffs and the Class to invest in fraudulent Ponzi/pyramid

    schemes (BCC and/or the BitConnect Investment Programs), thereby causing actual harm to

    thousands of investors.

              272.   It would be unconscionable and against the fundamental principles of justice,

    equity, and good conscience for the BITCONNECT Defendants to retain the substantial monetary

    benefits they have received as a result of their misconduct.

              273.   To remedy the BITCONNECT Defendants’ unjust enrichment, the Court should

    order the BITCONNECT Defendants to immediately return Plaintiffs’ and the Class’ investments




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    and disgorge any amounts received by the BITCONNECT Defendants as a result of their

    misconduct alleged herein.

       COUNT XVI - VIOLATION OF FLORIDA’S DECEPTIVE AND UNFAIR TRADE
                          PRACTICES ACT (“FDUTPA”)
                       [AGAINST THE BITCONNECT DEFENDANTS]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              274.   Chapter 501, Fla. Stat., Florida’s Deceptive and Unfair Trade Practices Act is to be

    liberally construed to protect the consuming public, such as Plaintiffs and the Class Members in

    this case, from those who engage in unfair methods of competition, or unconscionable, deceptive

    or unfair acts or practices in the conduct of any trade or commerce.

              275.   Plaintiffs and the Class Members are “consumers” within the meaning of Fla. Stat.

    § 501.203(7).

              276.   By soliciting investor funds in the manner in which they did, the BITCONNECT

    Defendants engaged in “trade and commerce” within the meaning of Fla. Stat. §501.203(8).

              277.   While FDUTPA does not define “deceptive” and “unfair,” it incorporates by

    reference the Federal Trade Commission’s interpretations of these terms. The FTC has found that

    a “deceptive act or practice” encompasses “a representation, omission or practice that is likely to

    mislead the consumer acting reasonably in the circumstances, to the consumer’s detriment.”

              278.   The federal courts have defined a “deceptive trade practice” as any act or practice

    that has the tendency or capacity to deceive consumers and have defined an “unfair trade practice”

    as any act or practice that offends public policy and is immoral, unethical, oppressive,

    unscrupulous, or substantially injurious to consumers.




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           279.    Moreover, as the securities laws are designed for consumer protection and

    “proscribe[] unfair methods of competition, or unfair, deceptive, or unconscionable acts or

    practices,” a violation of the securities laws is a per se violation of FDUTPA

           280.    The BITCONNECT Defendants have reaped monetary rewards from operating

    and/or personally benefiting from inducing Plaintiffs and the Class to invest in fraudulent

    Ponzi/pyramid schemes (BCC and/or the BitConnect Investment Programs), thereby causing

    actual harm to thousands of investors.

           281.    The BITCONNECT Defendants’ acts and omissions of representing to Plaintiffs

    and the Class Members that, among other things:

           (a) BITCONNECT utilized a proprietary, secret trading system (the “Volatility
               Software”) that helped its investors generate far-greater-than-average returns
               on their investments;

           (b) BITCONNECT’s representation that a one percent (1%) daily return on
               investments was readily achievable regardless of market performance or the
               fluctuating value of bitcoin;

           (c) Investment returns were legitimately generated and were not simply a
               reallocation of new BITCONNECT investors’ money used to pay the promised
               returns on outstanding BITCONNECT investors’ investments in classic Ponzi
               scheme fashion;

           (d) The BitConnect Investment Programs complied with all applicable securities
               laws; and

           (e) The BitConnect affiliates who were paid commissions for their sale of
               BitConnect Investment Programs were properly registered to procure those
               sales

    constitute both deceptive and unfair trade practices because the false representations and omissions

    made by the BITCONNECT Defendants have a tendency or capacity to deceive consumers, such

    as Plaintiffs and the Class Members, into investing in BITCONNECT’s falsely-touted business

    and are immoral, unethical, oppressive, unscrupulous, or substantially injurious to consumers.




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            282.      As a result of the BITCONNECT Defendants’ deceptive trade practices, Plaintiffs

    and the Class Members were deceived into investing their money with a company that functioned

    solely as an engine of fraud -- thus causing significant economic damage to Plaintiffs and the Class

    Members.

            283.      The materially false statements and omissions as described above, and the fact that

    this was a misleading investment, were unfair, unconscionable, and deceptive practices perpetrated

    on Plaintiffs and the Class Members which would have likely deceived a reasonable person under

    the circumstances.

            284.      The BITCONNECT Defendants were on notice at all relevant times that the false

    representations of material facts described above were being communicated to prospective

    investors (such as Plaintiffs and the Class Members) by their authorized agents.

            285.      As a result of the false representations and violations of the securities laws

    described above, Plaintiffs and the Class Members have been damaged by, among other things

    losing their invested capital.

            286.      Plaintiffs and the Class Members have also been damaged in other and further ways

    subject to proof at trial.

            287.      Therefore, the BITCONNECT Defendants engaged in unfair and deceptive trade

    practices in violation of Section 501.201 et seq., Fla. Stat.

            288.      Pursuant to Sections 501.211(1) and 501.2105, Fla. Stat., Plaintiffs and the Class

    Members are entitled to recover from the BITCONNECT Defendants the reasonable amount of

    attorneys’ fees Plaintiffs and the Class Members have had to incur in representing their interests

    in this matter.




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                            COUNT XVII - FRAUDULENT INDUCEMENT
                              [AGAINST THE BITCONNECT DEFENDANTS]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              289.   The BITCONNECT Defendants, by acts of both omission and commission, made

    to Plaintiffs and the Class Members false statements of material facts about the services Plaintiffs

    and the Class Members would receive from BITCONNECT upon opening a BITCONNECT

    account and investing in the BitConnect Investment Programs.

              290.   Specifically, the BITCONNECT Defendants’ representations to Plaintiffs and the

    Class Members that, among other things:

              (a)    BITCONNECT utilized a proprietary, secret trading system (the “Volatility
                     Software”) that helped its investors generate far-greater-than-average
                     returns on their investments;

              (b)    BITCONNECT’s representation that a one percent (1%) daily return on
                     investments was readily achievable regardless of market performance or the
                     fluctuating value of bitcoin;

              (c)    Investment returns were legitimately generated and were not simply a
                     reallocation of new BITCONNECT investors’ money used to pay the
                     promised returns on outstanding BITCONNECT investors’ investments in
                     classic Ponzi scheme fashion;

              (d)    The BitConnect Investment Programs complied with all applicable
                     securities laws; and

              (e)    The BitConnect affiliates who were paid commissions for their sale of
                     BitConnect Investment Programs were properly registered to procure those
                     sales

    were false, and the BITCONNECT Defendants knew at the time the statements were made that

    the statements were false.




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              291.   The BITCONNECT Defendants intended that Plaintiffs and the Class Members

    would be induced into action by relying upon the statements of fact made to them by and on behalf

    of the BITCONNECT Defendants.

              292.   In considering whether to open accounts at BITCONNECT, invest in the

    BitConnect Investment Programs, and entrust to BITCONNECT their valuable assets; Plaintiffs

    and the Class Members reasonably and justifiably relied on the statements of fact made to them by

    and on behalf of the BITCONNECT Defendants.

              293.   As a direct and proximate result of Plaintiffs’ and the Class Members’ reliance on

    the statements made to them by the BITCONNECT Defendants, Plaintiffs and the Class Members

    have suffered damage.

                      COUNT XVIII - FRAUDULENT MISREPRESENTATION
                            [AGAINST THE BITCONNECT DEFENDANTS]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              294.   The BITCONNECT Defendants, by acts of both omission and commission, made

    to Plaintiffs and the Class Members false statements of material facts about the services Plaintiffs

    and the Class Members would receive from BITCONNECT upon opening a BITCONNECT

    account and investing in the BitConnect Investment Programs.

              295.   Specifically, the BITCONNECT Defendants’ representations to Plaintiffs and the

    Class Members that, among other things:

              (a)    BITCONNECT utilized a proprietary, secret trading system (the “Volatility
                     Software”) that helped its investors generate far-greater-than-average
                     returns on their investments;

              (b)    A one percent (1%) daily return on investments was readily achievable
                     regardless of market performance or the fluctuating value of bitcoin;




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            (c)     Investment returns were legitimately generated and were not simply a
                    reallocation of new BITCONNECT investors’ money used to pay the
                    promised returns on outstanding BITCONNECT investors’ investments in
                    classic Ponzi scheme fashion;

            (d)     The BitConnect Investment Programs complied with all applicable
                    securities laws; and

            (e)     The BitConnect affiliates who were paid commissions for their sale of
                    BitConnect Investment Programs were properly registered to procure those
                    sales

    were false, and the BITCONNECT Defendants knew at the time the statements were made that

    the statements were false.

            296.    The BITCONNECT Defendants’ misrepresentations were made with reckless

    disregard for the truth.

            297.    The BITCONNECT Defendants intended that Plaintiffs and the Class Members

    would be induced into action by relying upon the statements of fact made to them by and on behalf

    of the BITCONNECT Defendants.

            298.    In considering whether to open accounts at BITCONNECT, invest in the

    BitConnect Investment Programs, and entrust to BITCONNECT their valuable assets; Plaintiffs

    and the Class Members reasonably and justifiably relied on the statements of fact made to them by

    and on behalf of the BITCONNECT Defendants.

            299.    As a direct and proximate result of Plaintiffs’ and the Class Members’ reliance on

    the statements made to them by the BITCONNECT Defendants, Plaintiffs and the Class Members

    have suffered damage.




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                        COUNT XIX - NEGLIGENT MISREPRESENTATION
                            [AGAINST THE BITCONNECT DEFENDANTS]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              300.   The BITCONNECT Defendants, by acts of both omission and commission, made

    to Plaintiffs and the Class Members false statements of material facts about the services Plaintiffs

    and the Class Members would receive from BITCONNECT upon opening a BITCONNECT

    account and investing in the BitConnect Investment Programs in exchange for the fees they were

    compelled to pay to maintain accounts at BITCONNECT.

              301.   Specifically, the BITCONNECT Defendants’ representations to Plaintiffs and the

    Class Members that, among other things:

              (a)    BITCONNECT utilized a proprietary, secret trading system (the “Volatility
                     Software”) that helped its investors generate far-greater-than-average
                     returns on their investments;

              (b)    A one percent (1%) daily return on investments was readily achievable
                     regardless of market performance or the fluctuating value of bitcoin;

              (c)    Investment returns were legitimately generated and were not simply a
                     reallocation of new BITCONNECT investors’ money used to pay the
                     promised returns on outstanding BITCONNECT investors’ investments in
                     classic Ponzi scheme fashion;

              (d)    The BitConnect Investment Programs complied with all applicable
                     securities laws; and

              (e)    The BitConnect affiliates who were paid commissions for their sale of
                     BitConnect Investment Programs were properly registered to procure those
                     sales

    were false, and the BITCONNECT Defendants knew at the time the statements were made that

    the statements were false.

              302.   The BITCONNECT Defendants had no reasonable grounds upon which to believe

    the statements were true when made to Plaintiffs and the Class Members.



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              303.   The BITCONNECT Defendants intended that Plaintiffs and the Class Members

    would be induced into action by relying upon the statements of fact made to them by and on behalf

    of the BITCONNECT Defendants.

              304.   In considering whether to open accounts at BITCONNECT, invest in the

    BitConnect Investment Programs, and entrust to BITCONNECT their valuable assets; Plaintiffs

    and the Class Members reasonably and justifiably relied on the statements of fact made to them by

    and on behalf of the BITCONNECT Defendants.

              305.   As a direct and proximate result of Plaintiffs’ and the Class Members’ reliance on

    the statements made to them by the BITCONNECT Defendants, Plaintiffs and the Class Members

    have suffered damage.

                                     COUNT XX - CONVERSION
                                [AGAINST THE BITCONNECT DEFENDANTS]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              306.   Plaintiffs transferred funds and assets to BITCONNECT for investment, and as a

    purported loan, to participate in the BitConnect Investment Programs.

              307.   BITCONNECT has kept Plaintiffs’ and the Class Members’ funds and assets after

    Plaintiffs and the Class Members requested their return, despite BITCONNECT’s lack of any

    ownership interest in the assets and despite BITCONNECT’s agreement in writing to return to

    Plaintiffs and the Class Members -- in the form of fiat currency (i.e., U.S. Dollars or Euros), not

    BCCs -- all of Plaintiffs’ and the Class Members’ holdings.

              308.   By refusing to return to Plaintiffs and the Class Members their assets,

    BITCONNECT intended to interfere with, and indeed has interfered with, Plaintiffs’ and the Class




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    Members’ ownership and interest in those holdings and has deprived Plaintiffs and the Class

    Members of their property, permanently or temporarily.

              309.   Upon information and belief, BITCONNECT has utilized Plaintiffs’ and the Class

    Members’ funds and assets to cover BITCONNECT’s own business expenses and to enrich its

    Directors, shareholders, and affiliates, including Defendants JEPPESEN, ARCARO, JAMES,

    HILDRETH, GRANT, CRYPTONICK, MASSEN, FOX, and JOHN DOE NOS. 2-10.

              310.   As a result of BITCONNECT’s conversion of Plaintiffs’ and the Class Members’

    funds and assets to its own corporate uses and the personal use of its Directors, shareholders, and

    affiliates; Plaintiffs and the Class Members have suffered damage.

                                  COUNT XXI - CIVIL CONSPIRACY
                                [AGAINST THE BITCONNECT DEFENDANTS]

              Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1–215 above, and further

    allege:

              311.   The BITCONNECT Defendants conspired with one another to perpetrate an

    unlawful act upon Plaintiffs and the Class Members or to perpetrate a lawful act by unlawful

    means, to wit: they made multiple misrepresentations of fact to Plaintiffs and the Class Members

    in an effort to extract from Plaintiffs and the Class Members funds, assets, and cryptocurrency to

    fund BITCONNECT’s own business expenses and to enrich its Directors, shareholders, and

    affiliates, including Defendants JEPPESEN, ARCARO, JAMES, CRYPTO CLOVER,

    HILDRETH, GRANT, CRYPTONICK, MASSEN, FOX, and JOHN DOE NOS. 2-10, not to fund

    the purportedly legitimate purpose to which Plaintiffs and the Class Members were told by the

    BITCONNECT Defendants that their investment assets were being applied – all of which put the

    BITCONNECT Defendants’ own pecuniary interest ahead of Plaintiffs’ and the Class Members’

    welfare and economic safety.




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           312.    The BITCONNECT Defendants solicited and/or accepted from Plaintiffs and the

    Class Members large sums of funds, assets, and cryptocurrency while withholding from Plaintiffs

    and the Class Members certain material facts, including:

           313.    BITCONNECT did not utilize a proprietary, secret trading system (the “Volatility

    Software”) that helped its investors generate far-greater-than-average returns on their investments;

           314.    BITCONNECT’s representation that a one percent (1%) daily return on

    investments was readily achievable regardless of market performance or the fluctuating value of

    bitcoin;

           315.    Investment returns were not legitimately generated and were simply a reallocation

    of new BITCONNECT investors’ money used to pay the promised returns on outstanding

    BITCONNECT investors’ investments in classic Ponzi scheme fashion;

           316.    The BitConnect Investment Programs did not comply with all applicable securities

    laws; and

           317.    The BitConnect affiliates who were paid commissions for their sale of BitConnect

    Investment Programs were not properly registered to procure those sales; and

           318.    The “BCC School” orchestrated by Defendant GLENN ARCARO was not a

    “school” at all; rather, it was a mere conduit to get BCC School “graduates” to open up accounts

    at BITCONNECT, for which GLENN ARCARO and his team of affiliates reaped from

    BITCONNECT the riches of each client referral.

           319.    Each of the BITCONNECT Defendants agreed to the illicit purpose for garnering

    investment monies from Plaintiffs and the Class Members so that BITCONNECT’s Directors,

    shareholders, and affiliates could enjoy lavish lifestyles with Plaintiffs’ and the Class Members’

    funds, assets, and cryptocurrency.




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           320.   The BITCONNECT Defendants were each aware of, and consented to, the

    misrepresentations detailed above and knew that the efforts to garner funds, assets, and

    cryptocurrency from Plaintiffs and the Class Members was all part of a fraud aimed solely at

    enriching BITCONNECT’s Directors, shareholders, and affiliates without any intent to remunerate

    Plaintiffs and the Class Members in any legitimate way purported by the BitConnect Investment

    Programs.

           321.   In furtherance of their conspiracy, the BITCONNECT Defendants made to

    Plaintiffs and the Class Members, or agreed to have someone make on their behalf, the false

    statements of fact detailed above and purposefully withheld from Plaintiffs and the Class Members

    certain material facts detailed above in a concerted effort to obtain Plaintiffs’ and the Class

    Members’ funds, assets, and cryptocurrency.

           322.   To fulfill their role in the conspiracy, the BITCONNECT corporate parties operated

    the BitConnect Websites and pretended to be operating a legitimate, legally-compliant trading

    exchange and lending platform.

           323.   To fulfill his role in the conspiracy, Defendant JEPPESEN oversaw and personally

    participated in developing the BitConnect Websites as well as BITCONNECT’s business

    operations in the United States and Europe -- falsely representing that the operations were

    legitimate.

           324.   To fulfill his role in the conspiracy, Defendant ARCARO managed, coached, and

    supported a United States-based team of BITCONNECT affiliates to sharpen their recruiting

    techniques and lure in BITCONNECT investors.            Defendant ARCARO also created and

    orchestrated the BCC School, which was little more than a conduit to get BCC School “graduates”




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    to open up accounts at BITCONNECT, for which ARCARO and his team of affiliates reaped from

    BITCONNECT the riches of each client referral.

           325.    To fulfill their role in the conspiracy, Defendants JEPPESEN, ARCARO, JAMES,

    CRYPTO CLOVER, HILDRETH, GRANT, CRYPTONICK, MASSEN, FOX, and JOHN DOES

    NOS. 2-10 served as United States-based BITCONNECT affiliates who used social media

    channels such as YouTube, Twitter, Reddit, and Facebook to recruit unsuspecting investors in the

    United States and abroad to purchase BitConnect Investment Programs.             For their efforts,

    Defendants JEPPESEN, ARCARO, JAMES, CRYPTO CLOVER, HILDRETH, GRANT,

    CRYPTONICK, MASSEN, FOX, and DOES NOS. 2-10 were paid large commissions and

    participated in a lucrative bonus program that provided them sizeable incomes.

           326.    BITCONNECT conducted no legitimate business -- something of which each of

    the Developer and Promoter Defendants were aware and which they accepted as part of the scheme

    to defraud BITCONNECT investors and accountholders, including Plaintiffs and the Class

    Members.

           327.    As a direct and proximate result of the BITCONNECT Defendants’ conspiracy,

    Plaintiffs and the Class Members have suffered damage.

                                         PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

    respectfully pray for relief as follows:

           (a) Declaring that this action is properly maintainable as a class action and
               certifying Plaintiffs as the Class representatives and their counsel as Class
               counsel;

           (b) Declaring that the BITCONNECT Defendants offered and sold unregistered
               securities in violation of the federal securities laws;

           (c) Declaring the BITCONNECT Defendants are liable to Plaintiffs and the Class
               under Sections 12(a)(1) and/or 15(a) of the Securities Act;



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            (d) Declaring the BITCONNECT Defendants violated Florida’s Deceptive and
                Unfair Trade Practices Act and are therefore required to provide rescissory
                and/or other equitable relief to Plaintiffs and the Class;

            (e) Declaring that the BITCONNECT Defendants are liable to Plaintiffs and the
                Class due to their breach of contract, fraudulent inducement, fraudulent
                misrepresentation, negligent misrepresentation, conversion, and civil
                conspiracy;

            (f) Preliminarily enjoining the BITCONNECT Defendants from making further
                transfers or dissipations of the investments raised from the offer and sale of
                BCCs and in connection with the BitConnect Investment Programs, or using
                such funds in any further purchases or transactions;

            (g) Requiring an accounting of the remaining funds and assets raised from Plaintiffs
                and the Class in connection with the offer and sale of BCCs and the BitConnect
                Investment Programs;

            (h) Imposing a constructive trust over the funds and assets rightfully belonging to
                Plaintiffs and the Class;

            (i) Ordering rescission of the investments made by Plaintiffs and the Class relating
                to the offer and sale of BCCs and the BitConnect Investment Programs and/or
                compensatory damages;

            (j) Awarding Plaintiffs the costs of this action, including reasonable allowance for
                Plaintiffs’ attorneys’ and experts’ fees; and

            (k) Granting such other and further relief as this Court may deem just and proper.

                                     DEMAND FOR TRIAL BY JURY

            Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demand trial by jury

    in this action of all issues so triable.




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                                                            Respectfully submitted,

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                                                                   Co-Lead Counsel for Plaintiffs

                                     CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the Clerk
    of Court on this 13th day of September 2019 by using the CM/ECF system, which will thereby
    serve all registered users in this case a true and correct copy of the foregoing via electronic mail.


                                                            ____________________________________
                                                                  DAVID C. SILVER



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